By , ase 1:16-cv-09281-JEJ Document 1-5 Filed 02/17/16 Page 1 of 100

Superior Court Re: Commonwealth v. Ibrahim Aly
CP - 51- CR- 0006077- 2013
2856 EDA 2013

England Bill of Middlesex, established by the Court of King’s Bench to gain jurisdiction over cases in
the remit of the Court of Common Pleas under Here Majesty Warrant and order of pay Fine or . Once
the defendant was in custody the trespass complaint was dropped and other complainant would be
substituted. the Court of Common Pleas and Court of Kings Bench were two of the central common
law courts in England from the 13" century until their dissolution in 1875. in which the Common Pleas
jurisdiction was over cases where the King had no further interest “

the United States of America Law is a Statutory Law , made by Legislatures through Legislation, the
law “ Statute” in Pennsylvania State is author only by Pennsylvania elective General Assembly,
whom established rite be enforced by Court Order against any violation to the law Statue.

in the Matter of the Appeal Submitted to the Superior Court of Pennsylvania, Eastern District of
Pennsylvania in which Mr Baker Kari summited to file in the Court in the Matter of Petition for Mr.
Victor Rauch to withdrew as Counsel form representing Mr Ibrahim Aly

the Appellant Brief file Represented to the Superior Court was in the Name of Mr Robert Thomas,
Represented by Owen W. Larrabee, Darl Baker, Ellen t. Greenlee, and Robert Thomas and Victor .

instated of Mr Aly name and his assign Lawyer on the Brief appeal, thereafter the Superior Court
Opinion was for Mr Rober Thomas Case, but not for Mr Aly Case, furthermore Mr Aly never sing for
those Counsel Name above, thereafter Superior Court issue its Opinion and Find Mr. Aly Guilty based
on the Wrong Brief appellant Name, submitting by unknown Lawyer's instead of Mr Aly, theifore the
Superior Court Opinion for Finding that Mr. Aly is Guilty is Moot and should not be affirmed.

Exhibit No. # 55555 .
inforce of case law Anders vs. California violated Mr. Aly as explaining:

In Ander's brief , the attorney who decides to withdraw the case must identify anything in record that
might_support the appeal, after that the court decides based on law Statue, the Common Pleas Court
Cannot enforced the Defendant Lawyer Mr. Victor to testify against his Client and Prosecuting Him ,
instead of defending his Client right, that was not the Spirit of the United States Law in which

| Philadelphia Common Pleas Court Enforced in opposite to interpretation of the Original Statue .

Pennsylvania States Law Granted the right of the Defendant to choose his counsel to Terminated him
and or to Fire his Council and also granted the, Defendant Right to Represented his case court “ Pro
Se

See Id. No. # Pennsylvania Rules of Appeal

Application for Extension of time to file Brief Pro Se requested in statements dated on May 19, 2014

Mr Victor Rauch violated Mr Aly right by File an Extension to File a Brief with the court Even in the
Court filling Explain as Evidence that Mr Aly has Summiting a Request in Statement as a Proved to
Represented his Case Pro Se without interference from Mr Victor Ruck, the Superior Court Violated
Mr Aly Right by accepting Mr Victor Rauch Exchange to File a Brief after Mr Aly inform the Superior
Court administration in written declaring that the fire lawyer Victor Rauch .

Superior Court Administration, inform Mr Aly that Mr Victor did not file for Extension of Time to file Mr
Aly Brief that was 5 Pm on the Date of July 18, 2014 then Mr Aly submit in a written statement stated
that :Mr. Aly fire Victor Rauch and Pre Se.

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The Superior Court Administration Personal accepted Mr Victor Application to withdraw as Counsel
after the Date and Hour of filling ended in Superior Court at 5pm on the date of July 18, 2014, no right
granted to Superior Administration to accepted Mr. Victor Brief after 5 P.M and Court date to File
ended on July 18, 2014. the Administration informed Mr aly that no one is summit a Brief in his
Name. as explaining :

Superior Court of Philadelphia appeal cade No. #

Commonwealth v. Ibrahim Aly

CP- 51- CR- 0006077- 2013r

2856 EDA 2013

Mr Aly, submitted a Letter to Superior court Stated that Mr Aly, Fire His attorney Victor Rauch on the
Date of May 19, 2014 because Mr Rauch fale to Submit his Brief

in time as requesting by the Superior Court and stated that Mr Aly will Pro se without an attorney. See
Id No. # 52

1- Superior Court Violation to Accepted Mr Victor brief after Mr. Aly submitting a motion to Superior
Court Stated That Mr. Aly pro se.

2- Mr Aly inform Mr Victor that only his Job is limited to file an appeal applications to the Court and Mr
Aly will pro sea

the issue with United States of America Right to land due to Hudson’s Bay violation to Charter law in
which King Charles II limited Hudson’s Bay Charter grant to Fur Trade and only in Hudson's Bay Bacin,
the issue with Mr Aly, He had set a limited to Mr Victor, to file a Superior Court appeal application
without file a Brief in which MR. Victor violated, case No. EDA 2013 No. # 2856

in Attorney General Kane Case No. # MD 1424-2014 in Which the Supreme Court put Parameter’s to
Judge Carpenter and Judge Carpenter Violated the Supreme Court PARAMITER'S Order, no right to
extend contract without permission from the Parties involving in contracting.

3- Mr Aly inform the Superior Court in written that Mr Aly is Pro se,

But the Superior Court violated Pro se

the Superior Court doesn't have any right to enforcement of Mr Victor brief appellant due to limited of
contract in represented Mr. Aly

4- the Superior Court Judge Mound Dicky Sally Opinion based on in Mr Victor brief and denying Mr
Aly brief, under Her Court Order in which Stated that no Right to grant Mr Aly pro se if he represented
by a Lawyer, by Her Judgment only the Lawyer brief is accepted by the Superior Court rather than Mr
Aly brief

that was a clear violation to Mr. Aly right to pro se after he fire his lawyer and limited His contract.
violation to Right of defendant to appeal

5- Mr Victor violation to interpretation of Law in Anders brief which Mr Victor Stated in His VI. Argument
No.(3) set forth counsel's conclusion that the appeal is

frivolous and No. ( 4) state counsel's reasons for concluding that the appeal is frivolous, Counsel
should articulate the relevant facts of record, controlling case law, and or statutes on point that have
led to the appeal is frivolous.

violation Id. No.# Anders v. Califomia

"Upon granting leave to withdraw, the court shall determine whether new counsel is entering an

appearance, new counsel is being appointed to represent the defendant, or the defendant is
proceeding without counsel.”

aK

Judge Diana unhalt Opinion to Superior Court Stated that "Appellant did admit to asking Mr. Radwan

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for a thousand dollars that day"

Judge unhalt Statements is Part of Her Court Opinion is Wrong, because Appellant Mr. Aly never
admit to asking Mr. Radwan for a thousand dollars that day.

Q. okay and did you ask him for $ 1000 that deny

A. Never. | asked him on that date for $ 1000

See Id. No N.T 9/12/13 p 8

Judge Dian Unhalt at Philadelphia Common Pleas trail Court violated Mr Aly Civil Right by Enforcing
Mr Aly to be supervised under mental health unit in violation to his Constitution Right as Explain in
Exhibit No:

Appellant's Pro Se Brief including discernable legal arguments supported by applicable law “ the law
of the land “ and not only the trial court violation in determine the weight and credibility of the
testimony at the trail wnen credit Mr. Radwan a federal convicted felony in which no right by law to
make Mr. Radwn a witness on the stand Mr Radwan couldn't be a credible witness because the
complainant prior record shoed his engagment in federal Criminal activity and the United States
Department of Immigration charged Mr Radwan with felony and Perjury after Mr Rawians confess, Mr
Radwan had been found guilty, detained, jailed and had been release on bail.

Second Mr. Radwan had comets second perjury in trail court of Common Pleas at Philadelphia under
Judge Diana Unhalt opinion, Mr Radwan Testimony had been Credit during the Trail, Mr Radwn
violated State of Pennsylvania, General Assembly, the law legislator Authority to State of Pennsylvania
Under Voting Right Act is not only Protect but it is enforced by federal Law Enforcement in
Accordance to the Supreme Law in the land

“ the United States of America Constitution and the bill of Right” against any violation on United States
Union Land after July 4, 2015 on the owner of the United States of America Chapter Land City of
Philadelphia is Under the Right of Way Authority against any Corruption Public and or Private to the
owner land, Declared the Independent form England to the Charter land of Railroad chapter
Proprietor ship owned by Reading Company.

Mr Radwn is committing Perjury in trail Court as explain on Trail Court for Mr Radwan testimony:

Police Report MrAly ask Mr Radwan for 1000 to flay to Egypt = ( 4\10\2013)

ID Q- He asked you for some money for a plain tiket to Correct (N.T 5\07\2013 P.8-9)
A- No He asked for for money and I'm the coming Christ

ID Q
A- the same thing | said no

do you remember given a statement to police (N.T 6\27\2013 P. 19)

Police Report Q- has Ibrahim asked for money in the past ( 4\10\2013)
A- three time before
ID Q- how many time prior to April 10 has he asked you for money (N.T 8\27\2013 P.14)

A- Two Time

Police Report MrAly Punched Mr Radwan in the chaste ( 4\10\2013)
ID" Q- So, once, he never hit you or he did hit you, just yes or no sir (N. T. 5\7\2013 P. 7)
A- | don’t know (N. T. 5\7\2013 P. 7)

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A- No respone (N. T. 5\7\2013 P. 10)
in question by Ms Veranica Wiliams N.T. 8\27\2013 P. 15
Mr Radwan answer is "Don't even Speak English, | cannot even go to police station and put a report"
in question by Ms. Sin N.T. 5\7\2013 PQ

Mr Radwan answer is " don't even speak English to call the cop "

that was the court incredible witness and in which the trail court judge Daina Anhult opinion based on.

the court of Common Pleas did abuse its discretion in ruling because there was no evidence and no
credible witness who Committed Perjury.

Judge Anhalt J. Opinion Stated that; “ Here, the court found that the testimony of Mr. Radwan was
entirely reasonable and credible more so that the testimony of the appellant” Judge Anhalt opinion
violated Federal Law for finding fact that Mr Radwan not a credible witness based on the fact which
Commonwealth persecution and Judge opinion not taken in consideration based on law and fact but
based on Mr Radwan the wittiness prior record showed that Mr Radwan commit a Federal Crimes
which Mr Radwan charge felony and perjury in accordance to federal law Mr Mohmed had contest to
his crime, found guilty, contained, jailed and release by federal immigration Authority the Common
Pleas Court Judge Cannot change the fact on the ground that the Federal Perjury in which Mr Radwan
Committed could not make him a credible witness on the Stand against Mr Ibrahim Aly the Hight
United States decorative Law enforcement officer, Federal Railroad Chief of Police, owner of United
States Charter land for the Commonwealth and Private States land, the owner of the City of
Philadelphia “Revelation” , he who enforced the Supreme law of the land and inforce the Freedom
and Independent from England on Julu4, 2015 and the end of the Bill of the Middlesex law

Since Mr. Radwan had violated the Federal Law, and had been charged with Perjury and felony then
the Trail court in violation for not enforced Federal Law and was not free to credit the testimony of
Radwan and disbelieve the testimony of Mr Ibrahim .

Mr Radwan statements not bear of trust of reliability as a government wittiness on the stand the
complainant had no credibility based on his Federal record toward law and order by the Federal
government in which the Pennsylvania States is Part of the Federalize and the federal law enforced on
the Court of Common Pleas .Philadelphia Charter Land Philly and Reading, the owner of the
Northeastern Railroad Land, the Owner of federal Land and Title who grant to investigation of fraud
and false claim tile. Mr Aly is the Federal Auditing General against Financial fraud. Mr Aly is the Owner
to New York Chapter and Railway the Owner of Railroad, Grid system, telephone system and Gas
Pipe line systems.

Judge Anhalt J. Opinion Stated that; “Here, the court found that the testimony of Mr. Radwan was
entirely reasonable and credible more so that the testimony of the appellant Mr Aly” See Id no. #
2856 EDA 2013 judge Anhalt Opinion Page [5]

Judge Anhalt opinion based on Mr Radwan testimony as Credible witness however Mr Radwan,
doesn't have any credibility as witness, Judge opinion not taken in consideration that Mr Radwan
prior Federal record showed that He committed perjury, United States federal immigration Authority
found Him guilty, Mr Radwan had contest to his crime,, detained, jailed and release on bill, Judge
Anhalt Opinion violated Mr. Ibrahim Aly Right because Mr. Radwan had no credibility, that was before
the Trail .

in accordance to Court file and Statement by Judge Diana Unhalt stated that ;

“That’s the key to this . If you are successful then your probation can be non- reporting. if you are
successful in the beginning, by staying away from the complainant. do you understand ! "

See Id. 17, 18, 19, 20, 21,22 trail September 12, 2013

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Mr. Aly requesting a Probation hearing, but due to the Lack of Applications in Philadelphia Common
Pleas Court Admiration , Mr. Aly filed 4 notice with the Office of Judge Unhalt requesting a Court
Hearing for the Matter of Mr Aly Right to a non-reporting probation, however Mr Aly never received a
respond from the Court, Mr. Aly file a complaint with the Court Administration on the date of
September 2, 2014 regarding His right to a Court Hearing in violation to Mr Aly Right =========

Mr. Aly, following a Court Order, had been Supervised under Probation for time up to 12 Month, Mr Aly,
who aske the Court Judge for Liberty to United States land and Freedom to all Private Citizen

including Him, however Judge Anhalt enforced a Court Order as Stated that Mr. Aly be Supervision
under a Mental Health with the assumption that Mr Aly is Creasy otherwise He will not be Supervised
by Mental Heaith Unite. Court Opinion violated Mr Aly Civil Right.

Mr Aly had been arrested by Harrisburg Police While doing his Federal investigating , Mr Aly send to
Jail, and after 40 day's , Mr. Aly committed to Common Pleas Court, Under Judge Anhult proceeding ,
Mr Aly explain to Judge Anhult about His right in non-Reporting to Probation which was in the Court
Order and granted to Mr. Aly on September 12, 2013 however Judge Anhalt Said "| don't Said That" ,
Judge Anhalt Deni Her Court Statement Under Oath. thereafter Judge Anhalt Violation to Court Order
of September 12, 2013 in which Mr Aly initial thereafter Mr. Aly deserved a relived.

Mr. Aly Never inform Court Judge of His ongoing Federal investigating due to the procedures of His
Job and due to the secrecy of the ongoing investigation under Federal Seal,

U.S.

Right of Way Authority

Reading Company Railroad Charters Chief of Police

Federal Land & Title Registry against Fraud and False Claim to Property Land and or Building.
Federal Financial Auditing to Debts Public and Private due to the Financial Meltdown.

Reading Company, owner of Railroad Charter Land of Original 13 Commonwealth States and the
Federal Privet Purchase in North America Continent, in which England Holding unlawfully Claim by
God Save the Queen of England.

Mr Aly, the owner of Railroad Charters land in the City of Philadelphia, United States First Capital, and
the owner to Washington D.C. Charter Railroad Land including the Right of Way, in which Mr. Aly is
on ongoing duty to defend the Federal Capital Land, the Federal Union 50 Stars, and United States
Federal Union Land against fraud and false Claim by the Privree of Great Britain under the District of
Columbia Flag, the law of England Family Flag follow the law of England Law .

See Id, No. #

18 Pa. C.S. $ 3921 (a) a person is guilty of [ receiving stolen property ]

18 Pa. C.S. $ 3925 (a) a person is guilty if he intentionally receives, retains, or disposes of movable
property of another knowing that it has been stolen
Mr Aly never Admit taken Money from the Complainant Mr Radwan, and the police never found Mr Aly
receives, retains or disposes a movable property, Mr Radwan not presented any evidence at the trial
except his word of mouth, since Mr Radwan is Committed perjery befor the trail in lie to United State
Federal Government, theirafter He Cannot be a credible witness and since Mr.Radwan, lie by
changing his testimony under oath at the trail theirafter Mr Radwan committed perjury, Had no
credibility, there is no testimony to preserve, and to support Mr Aly conviction, Mr Aly, the Defendant
deserve a relive. the Court of Middle Sex no longer enforced by her Majesty of the Bench warrant
Court, the Court of fine in her Providence, Territorial, and dominion in North America after the
enforcement of Declaration of Independence from England in the Second time in history July 4, 2015.

Judge Diana anhalt Opinion to Superior Court Stated that "On October 21, 2013, this Court ordered
Appellant to file a concise statement of the matters complained of on appeal pursuant to Rule 1925(b)
of the Pa. R.A.P."

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Mr Aly explaining in His brief to Superior Court that Mr. Aly in no longer under the Jurisdiction Of
Philadelphia Common Pleas Court thereafter Mr. Aly is Not obligated to answer to Rule 1925(b) of the
Pa. R.A.P, because it is not only violation to Court Jurisdiction ( Mr Aly is not Under the jurisdiction of
two Court the Common pleas and the Superior at the Same time but Mr Aly only obligated to file brief
appeal to Superior Court.

"On November 5, 2013, Appellant's counsel requested an extension of time to file a Supplemental
1925(b) and the court granted his request. Appellant did not file a 1925(b) Statement with the Court
but ratheron March 10, 2014 Counsel for Appellant notified the Court that he intends to file an
Andres/Santiago brief in this case as there are no non- frivolous issues for appeal.

Mr Aly Contract with Mr. Victor is limited to file only an application of appeal and no not permitted Mr.
Victor to file any other Statement or brief in which Mr. Victor violated the Contact term and in which the
Superior Court violated Mr Aly Right to appeal in accepted Mr. Victor Brief while there is declaration by
Mr. Aly filed in Superior Court instated that Mr Aly is Pro se and other filed instated that Mr. Aly [Flire
Mr. Victor. thefore the Superior Court Opinion Violated Mr. Aly:

1- the Right to Appeal

2- Contract Term with Mr Victor

The arrest warrant issue by Philadelphia Common Pleas Court is unconstitutional because Mr Aly was
under the Jurisdiction of Philadelphia Municipal Court in which the Municipal Court Issue a Subpoena
directed Mr. Aly for appearance on the Date of April 18, 2013 Time 12:58 am.

Stated to bring a notice with Me.

Common Pleas Court Violated Mr Aly Right, in issuing order of arrest, and arrested Mr. Aly on the
Date of April, 17 2013 thereafter Common Pleas Court violation to Mr. Aly Right :

1- False Arrest

2- False Imprison

including an application from Lancaster County Common pleas Court instruction of proceeding in
which County of Philadelphia Common Pleas Court violation to Pennsylvania Unified Court System, in
Delaware County the Court Administration Had taken in Consideration to Correct the Violation of
Federal employment Act in Mandating not less than a 15 % Minority work force out of the totality , plus
other law violation, need to be updated.

COURT OF COMMON PLEAS OF LANCASTER COUNTY, PA
Standards for Courtroom Decorum

Attomeys always should bear in mind that they are officers of the court and they should conduct
themselves accordingly

violation in which Philadelphia Common Pleas Court enforced Mr. Victor, the Attorney for the
defendant to be a Court Prosecution by Submitting a brief notified the Court that there are no non-
frivolous issues for appeal.

Philadelphia Common Pleas Court violation to rule of law ,as explaining:

Rules of Criminal Procedure

2. Held by the arresting police department at a location designated by the Court
as an approved Advanced Communication Technology Site for the purpose of
video conferencing until preliminary arraignment is conducted by the assigned
Duty Court Magisterial District Judge by video conference.

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Ill. Required

B. Withdrawal of Appearance

1. Counsel for a defendant may not withdraw his or her appearance except by
leave of court.

2. Amotion to withdraw shall be:

a. filed with the clerk of courts, and a copy concurrently served on the attorney
for the Commonwealth and the defendant: or

b. made orally on the record in open court in the presence of the defendant.

3. Upon granting leave to withdraw, the court shall determine whether new
counsel is entering an appearance, new counsel is being appointed to
represent the defendant, or the defendant is proceeding without counsel.

A. In all cases where a bench warrant is executed, the case shall proceed in
accordance with the following procedures:

1. In all cases where the Defendant is lodged in the Lancaster County Prison
pursuant to the bench warrant, the Warden or his designee shall notify the
District Court Administrator within twelve hours of commitment.

2. After notice from the Warden or his designee, the District Court
Administrator shall schedule a hearing within the time permitted by
Pa.R.Crim.P. 150.

3. The District Court Administrator shall give prompt notice of the hearing to
the Office of the Public Defender, District Attorney’s Office, and the Clerk of
Courts for Lancaster County. The District Attorney and Public Defender shall
each assign an attorney for the hearing.

4. The daily Business Judge shall conduct hearings on bench warrants held
pursuant to this Rule.

This Rule shall be effective for individuals detained on or after August 1, 2006.
Revised 6-30-06

RULE 202. Approval of Search Warrant Applications by Attorney for the
Commonwealth -The District Attorney

** Common Pleas Court, County of Philadelphia never implying this Rules as Lancaster County
Common Plea Court did, First Mr. Aly had been Judge by the Bail Bond, under which Mr Aly never
Granted His basic legal Right to an Attorney as Mandated by State statue, Federal Statue and
Constition Artical====

and Mr Aly First Appearance is Granted with Judge theirafter the Judgment issued by Philadelphia
Baill Bond violated due Prosess of Law.

Commonwealth of Pennsylvania Articale 1&9 provide as follows " in all criminal prosecution the
accused has a right to be heard by himself and or by his council to demand the nature and case of the
accusation against him, nor he be deported of his life liberty or property without the due process of law.
Mr Aly never grant a right by the Bail bond nor by Philadelphia Municipal Court.

RULE 530. Duties and Powers of a Bail Agency

A. Pursuant to Pa.R.Crim.P. 530, the Court designates the Office of Bail

Administration and Pre-Trial Services as the bail agency.

B. The bail agency, after investigating and concluding that a defendant is

appropriate for release on bail, may present a motion to modify or reinstate bail. The bail agency may
act on behalf of defendants who are incarcerated on bench warrants or who are unable to post the
monetary amount of bail.

C. If the issuing authority sets bail which includes supervision by the bail agency, the issuing authority
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shail require the defendant to complete the bail agency’s supervision form.

RULE 5708. Pretrial Conference

B. Information Provided at Pretrial Conference

1. The general purpose of the pretrial conference is to apply and enforce the letter and spirit of Pa. R.
Crim. P. 570, and the comments thereto, and to ascertain the information contemplated thereby, in
order to determine the readiness of a criminal case for trial or the likelihood of and timeframe for a
nontribal

disposition. Accordingly, at the time of the pretrial conference, the parties

shall be prepared to provide, at a minimum, the information enumerated in Pa.

R. Crim. P. 570, and the official comment thereto.

2. A Pretrial Conference Memorandum in the form approved by the President

Judge shall be submitted to the court by the assigned attorney for the

Commonwealth and by the defense attorney at the time of the pretrial

conference. At the discretion of the court, a pro se defendant who intends to

remain pro se throughout the pendency of the case may also be required to

complete and submit a Pretrial Conference Memorandum.

3. A pro se defendant who has not yet retained legal counsel and does not intend

to remain pro se throughout the pendency of the case shall advise the court at

the Pretrial conference of the status of the defendant’s efforts to secure legal

representation. Absent compelling circumstances, a continuance to obtain legal

representation shall not be granted more than once.4.The

RULE 620. Waiver of Jury Trial

A waiver of jury trial shall be in compliance with Pa.R.Crim.P. 620 and on the

form provided by the District Attorney.

Philadelphia Common Pleas Court Violation to Pa.R.Crim.P. 620 in which the Form had been provide
from the Public Attorney but not by the District Attorney, the Unified Court System is one System of
rules and regulation does not defer from one Court to Other, a change in County location doesn't
Change the State law System.
Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 9 of 100

copy oF
ORIGINAL FILED IN SUPERIOR CourRT

JUL 18 2014 IN THE SUPERIOR COURT OF PENNSYLVANIA

EASTERN DistAicT EASTERN DISTRICT
COMMONWEALTH OF PENNSYLVANIA : EDA 2013
VS.
IBRAHIM ALY : No. 2856

PETITION TO WITHDRAW AS COUNSEL

TO THE PRESIDENT JUDGE AND JUDGES OF THE. SUPERIOR COURT OF
PENNSYLVANIA:

Victor Rauch, Assistant Defender, Owen W. Larrabee, Assistant Defender, Deputy Chief,
Appeals Division, Karl Baker, Assistant Defender, Chief, Appeals Division, and Ellen T. Greenlee,

Defender, appointed counsel for Robert Thomas, appellant in the captioned matter, request

permission to withdraw as counsel in the captioned appeal and represent: \ 0 L ot 104

1. The captioned appeal was filed by appellant from the judgment of sentence imposed
on September 12, 2013, by the Honorable Diana Anhalt, of the Court of Common Pleas, on CP-51-
CR-0006077-2013.

2. Counsel for appellant has made a conscientious examination of the record and has
determined the appeal is wholly frivolous.

3. Counsel has notified appellant of his request to withdraw as counsel, furnished
appellant with a copy of the petition to withdraw as counsel and the brief prepared by counsel, and
advised appellant of his right to retain new counsel, proceed pro se and raise additional points that

he may deem worthy of consideration. A copy of the letter to appellant is attached.

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Appa }

Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page 10 of 100

Respectfully submitted,

Late.

uA

VICTOR RAUCH, Assistant Defender
OWEN W. LARRABEE, Assistant Defender
Deputy Chief, Appeals Division
KARL BAKER, Assistant Defender
Chief, Appeals Division
ELLEN T. GREENLEE, Defender

Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page 11 of 100

DEFENDER ASSOCIATION
OF PHILADELPHIA

1441 Sansom Street ELLEN T. GREENLEE
Philadelphia, PA 19102 DEFENDER
(215) 568-3190

July 18, 2014

Mr. Ibrahim Aly
425 '4 N. Broad St.
Philadelphia, PA 19123

Re: Commonwealth v. Ibrahim Aly
CP-51-CR-0006077-2013
2856 EDA 2013

Dear Mr. Aly,

In accord with Commonwealth v. McClendon, 495 Pa. 467, 434 A.2d 1185 (1981), and
Anders v. California, 386 U.S. 738 (1967), you are hereby informed that after making a
conscientious examination of the record in your case, counsel has determined the appeal would

be wholly frivolous and is filing a request to withdraw from further representation of you in the
above-captioned matter.

You have the right to retain new counsel or to proceed pro se, and may raise any
additional points that you may deem worthy of consideration, by writing directly to the Superior

Court. A copy of the Anders — compliant brief is enclosed, as well as a copy of our petition to
withdraw as counsel.

Sincerely,

Victor Rauch

Assistant Defender
Appeals Division

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IN THE SUPERIOR COURT OF PENNSYLVANIA

EASTERN DISTRICT
COMMONWEALTH OF PENNSYLVANIA : EDA 2013
VS.
IBRAHIM ALY : No. 2856
PROOF OF SERVICE

I hereby certify that I am this day, by personal service and/or fax, serving upon

HUGH BURNS

CHIEF, APPEALS UNIT
DISTRICT ATTORNEY’S OFFICE
WIDENER BUILDING

3 SOUTH PENN SQUARE
PHILADELPHIA, PA 19107

a copy of the Petition to Withdraw as Counsel being filed in the above-captioned matter.

Victor Rauch, Assistant Defehder_
Defender Association of Philadelphia
1441 Sansom Street

Philadelphia, PA 19102

Date: July 18, 2014

DEFENDER ASSOCTATION OF PHILADELPHIA
BY: ELLEN T. GREENLEE, Defender and
Veronica Williams, Assistant Defender

Identification No, 00001 .
1441 Sansom Street OG; 04 (Be
Philadelphia, Pa. 19102

(245)-568-3190

hdd I

09/19/2013 03:46:41

Post Trl Uaht

A COPY OF THIS By: P. GRA

DOCUMENT HAS BEEN
RECEIVED BY THE
DISTRICT ATTORNEY

SIGNATURE

DATE

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COMMONWEALTH OF PENNSYLVANIA — : COURT OF COMMON PLEAS
: COUNTY OF PHILADELPHIA
Vv. : CRIMINAL TRIAL DIVISION

{BRAHIM ALY ;  CP-81-CR-0006077-2013
CHARGES: Theft —- Unlawful Taking
M1, Receiving Stolen Property Mi

ORDER

AND NOW, this {day Pifefine it ig HEREBY ORDERED that a

hearing be granted on the Motion for Reconsideration, to take plave on the day of

2013, in Courtroom of the Criminal Justice Center.

braid Wetowd ateareng

BY THE COURT:

CP-§1-CR-0006077-2013 Comm. v. Aly, Ibrahim

Order Denying Motion for Reconsideration of Sentence ahh ash helt

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| I HONORABLE DIANA L. ANHALT

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wa Ce Joely meee yh A Woy Cty SeLA WR Ct

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| ° \- case 1:16-cv-0028 a Document 1-5, Filed 02/17/16 Page 14 of 100 ab
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Ho * API in De O fEKOVO Gc
Commonwealth of Pennsylvania . at S pecsee of Prisoner Pp “ARE

Court of Common Pleas
County of Philadelphia f

ist Judicial District es L Commonwealth of Pennsylvania
Vv.
4 NU Ibrahim Aly

Philadelphia County Clerk of Quarter Sessions_——

\ 1301 Filbert Street
Docket No: CP-51-CR-0006077-2013

‘ TD1101
“. |Philadelphia, PA 19107 OTN: N 857508-1
a — DOB: 05/29/1960
—— Chargets}
18 § 3701§§ A1V (Lead) Robbery- -Take Property Fr Other/Force
18 § 3921§§A Theft By Unlaw Taking-Movable Prop
18 § 3925 §§A Receiving Stolen Property

Additional charges are listed on separate page.

To the Warden/Director of House Of Corrections:

You are ordered/directed to release Ibrahim Aly on Docket No. CP-51-CR-0006077-2013for the charges listed, for the
following reasons:

[_] Hearing to be held at:

_ Date: Location:

Time:

Acquitted/Found Not Guilty by (Jury/Court)

Case Dismissed

Charges withdrawn by Prosecution

When Bail is Posted

Ibrahim Aly has been placed on (Probation/Parole)

Other: SENTENCE: TIME SERVED TO23 MONTHS. CREDIT TIME SERVED IMMEDIATE PAROLE.CONCURRENT
2 YEARS REPORTING PROBATION

AFOOOOd

This release does not apply to any other commitment, hold order, or detainer against Ibrahim Aly.

BY THE COURT:

Mnanas of Onhg ht

Date Judge Diana L. Anhalt -

CPCMS 2004 1 Printed: 09/12/2013 3:39:12PM

Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page : 15 of 100

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Commonwealth of Pennsylvania ‘IN THE COURT OF COMMON PLEAS OF
Vv. ‘PHILADELPHIA COUNTY, PENNSYLVANIA
Ibrahim Aly
:CRIMINAL DIVISION
:DOCKET NO: CP-51-CR-0006077-2013
‘DATE OF ARREST: 04/17/2013
‘OTN: N 857508-1
‘SID: 398-62-14-0
‘DOB: 05/29/1960
:PID: 1123899
ORDER

AND NOW, this 12th day of September, 2013, the defendant having been convicted in the

above-captioned case is hereby sentenced by this Court as follows:

Count 2 - 18 § 3921 §§ A - Theft By Unlaw Taking-Movable Prop (M1)
To be confined for Time Served to 23 Months at County Prison.

The following conditions are imposed:
Credit for time served: Credit to be calculated by the Phila. Prison System -

_ Immediate Parole: Defendant paroled immediately.
This sentence shall commence on 09/12/2013.

To be placed on Probation - County Regular Probation - for a maximum period of 2 Year(s) to be supervised by
APPD-MENTAL HEALTH.

The following conditions are imposed:
Drug screens: To submit to random drug screens.

Mandatory Court Costs - Court Costs: Defendant is to pay imposed mandatory court costs.
Restitution: To make restitution of the fruits of his crime or to make reparation, for the loss or damage caused

thereby.
Supervision - - Supervision Under Mental Health Unit: Defendant to 2 be supervised under the Mental | Health L Unit,
Stay Away Order: To stay away from victim(s).

This sentence shall commence on 09/12/2013. CP-1-CR-0006077-2013 Comm. v. Aly, Ibrahim

Order - Sentence/Penalty imposed

Count 3 - 18 § 3925 §§ A - Receiving Stolen Property - Merged with Ct. 2 - (M1)
Link 1 7062858964

CP-51-CR-0006077-2013 - Seq. No. 2 (18§ 3921 §§ A) - Confinement is Concurrent with °;
CP-51-CR-0006077-2013 - Seq. No. 2 (18§ 3921 §§ A) - Probation

The defendant shall pay the following:

Fines Costs Restitution Crime Victim's Compensation Total Due
: Fund -
Amount: $0.00 $367.00 $200.00 $60.00 $627.00
| ° Balance Due: $0.00 $367.00 $200.00 $60.00 . $627.00

CPCMS 2066 rinted: 09/12/2013 3:38:04PM

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 16 of 100

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/V i 4’!

First Judicial District of Pennsylvania

51CR00060772013
Ibrahim Ali

™

Trial (Waiver) Volume 1
August 27, 2013

Court R

First Judicial District of Pennsylvania
100 South Broad Street, Second Floor
Philadelphia, PA 19110
(215) 683-8000 FAX:(215) 683-8005

Original File IBRAHIM*ALI‘T08-27-13.1xt. 0 Pages

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Case 1:16-cv-00281-JEJ Document 1-5

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Ibrahim Ali August 27, 2013
Page 1 Page 2

1
IN THE COURT OF COMMON PLEAS Mm

[2] [2] INDEX
a CRIMINAL TRIAL DIVISION SNA 3 COMMONWEALTH'S EVIDENCE
id} —— [4] WITNESS DR. CR. RDR. RCR.
[5] COMMONWEALTH : [5] BIKHIT RADWAN 11 19 22
, [6]
MF Vs. :CP-51-CR-0006077-2013 Ti EXHIBITS
71 : FOR IN
: : [8] NO. DESCRIPTION IDENT. EVD.
[8] IBRAHIM ALI [9] (None presented.)
0 Courtroom 904, Criminal Justice Center tay tnair cites ane spate Ne,
Philadelphia, Pennsylvania ray DEFENDANT'S EVIDENCE Yoo
[13] Tuesday, August 27, 2013 [13] WITNESS DR. CR. RDR. RCR. }
He BEFORE: THE HONORABLE DIANA ANHALT, J. 5] (None Presented.) oe pein
[16] — so aes,
(17) BIFURCATED WAIVER TRIAL VOL. | AB} EXHIBITS
[18] —- FOR IN
[19] aoe eeACY PALMER ESQUIRE [17] NO. DESCRIPTION IDENT. EVD.
a Assistant District Attorney {18] (None presented.)
[21] For the Commonwealth ({19]
[22] VERONICA WILLIAMS, ESQUIRE
Attorney for the Defendant

(23)
[24]
[25]

* j a Tae Page 4
[1] COMMONWEALTH VS ALI i co MONWEALTH VS ALI
[2] THE COURT: Before we do this; “THE COURT: Okay.
(3] however, I think I should -- actually, I have: . X hat is the other motion?
[4] to give you this back. He has one more place MS. WILLIAMS: And the second
[5] to initial on the third page. | [5] motion was a bail motion.
[6] And before we do the colloquy, , (6) THE COURT: Okay. All right. the of
[7] I'd like to -- well, first, we can do that and [7] So I'm going to hold off on the Ce
{8] then we'll address whatever motions Mr. Ali's (8] bail motion until later because that doesn't L 4 s La;
{9} had. _[9] have to be addressed prior to beginning the —-——
[10] --- [10] trial. oo / fp )
[11] (Brief pause.) kay, Mr. Ali? [s fu
[12] --- THE DEFENDANT: Okay.
[13] THE COURT: All right. THE COURT: And with respect to
[14] Ms. Williams, what motion does your first motion, the beauty of this United
{15} defense have for me to take a look at before States of America is that the law protects
[16] we begin the trial. everybody.
[17] MS: -WILLIAMS:—Your ; THE DEFENDANT: That's correct,
{18} defendant has filed two pro se motions. The : Your Honor.
{19] first of which, I think, is a motion to { 119] THE COURT: All right.
[20] quash. Essentially because the Commonwealth] 20] And so people who are
[21] did not make out a prima facie case due to the [21] immigrants or people who are in this country
[22] fact that the complainant is not a citizen of {22} legally or illegally --
[23] the United States, so the Commonwealth does [23] THE DEFENDANT: Yeah, but under
[24] not have the ability to go forward with this (24) the Constitution of the United States, the --
[25] case. Le [25] is not allowed anyone, whoever not citizen, or

Yo

Qadriyyah Taylor, O.C.R Court Reporting

System 1 (page 1 - 4)

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ercroincor203 Coorbbs Cad pot

{1 COMMONWEALTH VS ,
[2] nota legal r resident. Le enone a
3] THE COURT: That is Ctually J
[4] false. The law -- he. ee
We
[5] THE DEFEND T: That's what the
[6] Constitution. says (~

7 THE COURT-Ko, it doesn't. I l a NDANT: I waive my _/}
(8} respectfu hOleheartedly disagree with LIE ( ae I give it t to the Co Court ee
[9] your vteectation of the United State

{10} Constitution. I am proud of the fact that the
[11] Constitution protects everyone. And people
(12] have lost their lives fighting for it. So I

[13] recognize everyone's right to be free of

[14] crime. with robbery a

{15} THE DEFENDANT: Sure. '(15] felony of the third degree. The maximum
[16] He has the right under the (16] penalty is seven years imprisonment and a
[17] federal law, what he has. The constitution (17] $15,000 fine; two misdemeanors involving
{18} give all the rights to everybody, and should _ [18] _ theft, one theft by unlawful taking, one by

[19] never prevent anybody from not taking his
{20} right. So he has the right -- anybody have
(21) right. And he have the right only to file,
[22] not ina regular court to Philadelphia, but.
[23] file ina federal law. And that's inthe
{24} Constitution of the United States.
[25] THE COURT: Thank you

receiving stolen property. Those are
],_ punishable five years in prison and a $10,000
' fine. And youre charged with simple assault,

Page 8

“os, COMMONWEALTH VS ALI
ingly, inte ligently, and voluntarily?

[1] COMMONWEALTH VS ALI | _,
2] THE DEFENDANT: None of them;.*

[3] no. hep x mo /

[4] THE COURT: Okay. YL t rx . THE COURT: Excellent. \ a

[5] I'm holding in my hand a \ So then I will accept your 4

[6] Written Jury Trial Waiver Colloquy. Did you | waiver of your jury trial rights and make a ——? enrk

7] i go over this with your attorney? \ wT fiding that it's knowing, intelligent, and / AS Ce

[8], THE DEFENDANT: The attorney ] [8] voluntary. And we can proceed. / oC ?
{9}, she has the waiver of the trial form, so she } (9). THE DEFENDANT: Thank you. t \
[10]. should know. A (to) ~~. THE COURT: All right. Thank

[11] 5 THE COURT: No. Did you talk” 11] YOU en. _. ee K) de a
[12] ‘to_her about it?’ I know she knows what it is, [12] So would y you like t toy waive. coe | me
{13} but did you talk to her about it? (13) formal arraignment ¢ and enter.a plea’ of not

[14] THE DEFENDANT: Yes, we talk. '[14] ~~ Builty on Behalf of your client?

(15] Like mostly -- like, we -- she said, like -- (15) MS. WILLIAMS: That's correct,

[16] THE COURT: You don't have to [16] Your Honor. * '
[17] tell me what she said. I just want to make ‘{17] THE COURT: Very, well. a oh . \
[18] | sure you understand -- (18) oe Commonwealth, call your ‘first So Low ‘
{19} THE DEFENDANT: I understand ‘{19] witness. And move for sequestration on both 7 a

{20] every word. {20} sides. ‘ nid ~

[21] THE COURT: Perfect. (21) \—__-— MS PALMER? Cainitnonwealth calls

[22] And you signed this document on oe [22] Radwan Bikhit. j ‘. :
[23] the last page? we [23] THE COURT CRIER: Remain + aa
[24] , THE DEFENDANT: Yes. Sy (24) standing. ky) \ ue
[25] |. THE COURT: And you did so | [25] Start with the probation

\,

Qadriyyah Taylor, O.C.R ~__ a Court Reporting System 2 (page 5 - 8)

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Ibrahim Ali August 27, 2013
Page 9 Page 10
(1 COMMONWEALTH VS ALI { COMMONWEALTH VS ALI
[2} officer, first -- ' [2] The last name is R-A-D-W-A-N.
i3} THE COURT: No. [3] ---
[4] THE JUDICIAL STAFF: The (4) ... BIKHIT RADWAN, having
{5} interpreter. {5} been duly sworn, was examined and testified as
[6] State your full name. Spell [6] follows:
[7] your last name, your title for the record, [7] ---
[8] please. [8] THE COURT: What's the first
(9] THE INTERPRETER: My name is [9] name?
[10] Fathi Tounsi. The first name is F-A-T-H-I; -[10} MS. PALMER: B-I-K-H-I-T.
{11] | last name is T-O-U-N-S-I. [11] THE COURT: Got it.
[12] THE JUDICIAL STAFF: And your [12] THE JUDICIAL STAFF: Sir, you
(13) title? (13] can have a seat.
[14] THE INTERPRETER: My title? [14] The parties have been sworn,
{15} I'm the interpreter -- Arabic interpreter for [15] Your Honor.
[16] his language. [16] THE COURT: Thank you.
(17] ~-- [17] MS. PALMER: May I remain
[18] (FATHI TOUNSI, Arabic [18] seated, Your Honor?
[19] Interpreter, sworn.) THE COURT: You may.
[20] --- MS. PALMER: Thank you.
[21] THE JUDICIAL STAFF: Sir,
[22] need you to raise your right hand.
[23] State your full name. Spell
(24) your last name for the record.
(25) MR. RADWAN: Radwan
e é i ne Page 12
{1} COMMONWEALTH VS ALI COMMONWEALTH VS ALI
{2] 77 “ So
{3} COMMONWEALTH'S EVIDENCE. : | +» Ok
[4] --- 4] And were you working at your newsstand
{5] DIRECT EXAMINATION : [5] back on April 10th of this year, 2013?
[6] --- (6) A. Yes.
(7) BY MS. PALMER: ! [7] Q. And were you working at almost noon
{8} Q. Good afternoon. Thank you for your [8] around, 11:50 in the morning?
[9] patience today. (9] A. Before noon, a little bit before noon.

[10] A. No problem.

[11] Q. Sir, how are you currently employed?
{12} A. My job?

(13] Q. Yes.

(14) A. Ihave two jobs. Daytime, I work in my
[15] stand; and night time, J work for a supermarket.
[16] Q. Okay.

(17] And where is your stand located, sir?

(18) A. Spring -- corner of Spring Garden and
{19] Broad Street.

(20) Q. And is that a newsstand, sir?

(21] A. This is since 2005.

[22] Q. Is that how long -- that's when you

(23] opened it? 2005?

(24) A. Yes.

(25) Q. And it's a newsstand, correct?

‘T10q]) «=Q. Were you alone in the newsstand or were
{11] you with somebody else?
(12) A. Myself.

[13] Q. Okay.

14] Do you usually work alone in the
[15] newsstand?

[16] A. Yes.

[17] Q. And did you have any interaction that
[18] day with anyone you see here in the courtroom

[19] today?
{20] A. That's him, Ibrahim. He came to me.
[21] MS. PALMER: Indicating the

[22] defendant at the bar of the court by name and
[23] by point of finger.

[24] BY MS. PALMER:

(25) Q. And have -- prior to that day of April

Qadriyyah Taylor, O.C.R

Court Reporting System

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51CR60060772013 Trial (Waiver) Volume 1 —

Ibrahim Ali August 27, 2013
Page 14

(1 COMMONWEALTH VS ALI — [1] COMMONWEALTH VS ALI tne,

12) 10th, had you ever seen the defendant before? ‘(27 A. To loan him from me. Give me a thousand ~ \

{3} A. Yes. He used to make sandwiches like a [3] dollars. (\p- A\ ;

[4] block away from me. (4) Q. Okay _ UY

[5] Q. How long have you known him for? i 15] Has he asked for money before from you?

[6] A. Two years. Two years and a little bit:
[7] Q. Okay = ,~  ——  jp—\  - [7] message because
[8] What happened when you apd the defent | [8] messenger r of God. He is the common r messenger of _
[9] interacted on April 10th?. - : [9] God.

{10] A. Before or that day? [10] _Q. How many times prior to April

(6) <A. Yes. Yes, because he needed for his

[14] ~Q. That day. What happened o 7 1) he aske oney?

Ai 2} A. Hecame to ask me for a thousand . [12] A. Two times: { Once when he -- first time ts
/ {13} dollars. Then I said no. So he started insulting [13] came with the messenger of God story. Then ke
i (14 my father, my mother. Then he reach with his hang [14] second time was to fix -- pretend to fix my
{ [15] I thought he was going to bit me, bu but actually he '[15] electric.
\ [16] took the money out of my pocket. ~~~. => [16] Q. Okay.
\ {17] Q. Okay. [17] And does he ask for different amounts of

\{18] Now, I want to back you up for a ee [18] money or always a thousand dollars?

[13} second. He asked you for a thousand. dollars. Did
[20] he say why he needed a thousatid dollars?
(21] <A. It's not the first time he asked for
[22] that.

(23} Q. We'll get to that. But did he say wh

A. Always a thousand dollars.
a. So on April 10th when he asked for a

19]

[25] dollars?

[1] COMMONWEALTH VS A

[2] away from me. They told me that --
13] MS. WILLIAMS: Objection, Your’:
[4] Honor. Objection to what the family told | THE COURT: Indicating for the

[5] him. | [5] record, the left breast pocket.
6} THE COURT: Overruled. ' (6) Correct?
[7] You can keep going, sir. [7] THE WITNESS: Yes, the same
[8] THE WITNESS: That's it. \ [8] pocket.
[9] That's what happened. I told him go away, : [9] BY MS. PALMER:
{10} what bring you to me now. Hednsult : my mom. [10] Q. Okay.
[14] “He insult my fat her. He humi 114] So you have a shirt on today that has a : ») ik
(12) relationship with my ne (Hane ah G 12] pocket on the left side. Was it a similar shirt to \e “ ay \
[13] _y pocket. A AndI thought I he ingto hit oA 113] the one you're wearing today? . . “7 /
(14) “me. Then he was -- he was — his intention to” — @ 114) A. The same design. te ww 4
15) “grab then tmoney-out-of my pocket: And he= ~S iO [15] Q. Okay. wom |
[16] always, like, telling me that I'm not -- I . a [16] And is your money 1 in your | left breast a
{17] don't even speak English, so I'm not goitg — [17] pocket? _ ee oe a
[18] do nothing to him, cannot even go to the (18) “A. Usually, I don't carry money in my om
[19] __ police station and put a report. So I close a [19] pocket like that, but that day I was waiting for a \
{20} the stand and I went to the police station. \ [20] cab driver, my friend. His name Wajih Zikry. And \
[21] MS. PALMER: Okay. a 21] I always give him the money to buy me cigarettes J
{22} BY MS. PALMER: q “ 22] for my stand fr from the south side. paceman eT
{23} Q. I want to back up for a second. . . [23] “THE COURT: Please g give me the
[24] When the defendant reached out, you 24) name again. Spell it for the record, please.
[25] thought he was going to hit you. Which side was [25] THE WITNESS: First name Wajih,

Qadriyyah Taylor, O.C.R Court Reporting System 4 (page 13 - 16)

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Trial (Waiver) Volume 1

Of ASS ey August 27,20

13

Ibrahim Ali
a Page 1 Page 18
(J COMMONWEALTH VS ALI age ON COMMONWEALTH VS ALI
(2) W-A-J-I-H; Zikry, Z-I-K-R-Y. A. He said to me, you don't even speak a
{3} THE COURT: Okay. | [3] couple words together in English. Go. Whatever
(4] How much money did you -- did \ : [4] you want to do. Go do whatever you want to do.
[5] you have in your pocket? Q. Now, sir, did you ever get that money
(6] THE WITNESS: Two hundred Gs te] back”
[7] dollars. Q 7] A. No

[3] BY MS. PALMER:
[9] @. So, sir, after you realized that the

[10] money had been taken from your pocket, what did you
{11] do, if anything?

(12] A. IT went up to him. And IJ asked him it's ~....._..
{13) a shame to do stuff like this. So he started ___—-. >»
[14] insulting me, my -- insulting my mother, m <
[15} father. Iwas telling him that I'm going to call ,
16] the cops on him, He said whatever you want to do.
[17] Go do it. . ”
(18) I havea question. What bring him to me
[19] after we have promise from his family that he’s not |
[20] supposed to get near my stand?
(21) Q. Okay? Tinderstand, sir, your
(22] frustration. re
{23] Did the defendant say anything else to: ;
{24] you when you told him you were going to go t
(25] police?

el Q. And you went to the police that day?

[10] show me some pictures and they -- and I point on

[9] A. When I went to the police station, they ( i

[11] that and I knew him. He was in the picture. And
[12] they gave me a bunch of pictures and I knew -- and
[13] one of the pictures was his.

[14] Q. And was this on the same day that this

[15] happened, sir?

[16] A. The same day, they took me to a building

[17] in Philly underground. They showed me an album of

[18] pictures. And -- to find which one is which. And

\9] I knew that his picture over there.
6). Q. Now, sir, you weren't injured at all

[1] COMMONWEALTH vs ALI

[2] going to have a couple.

[3} 77

[4] CROSS-EXAMINATION
(5] wee

[6] BY MS. WILLIAMS:

[7] Q. Sir, on April 10th, it's your testimony

[8] today that my client asked you for money to loan
[9] him; is that right?

(10) A. Yes. He asked me for a thousand

[11] dollars. I told him why. He said give me a

[12] thousand dollars.

[13] Q. Okay. . VY

[14] And he asked you for a thousand dollars
{15] to fly back to Egypt, didn't he?

[16] A, No ——-—~ Ce ~~
17] Q. Okay. ‘ ys

{18} Do you remember giving a statement to
(19] police?

(20]} A. The same thing I said now. .---—~
(21) ‘Q. Okay.

[22} You gave a statement to the police on
[23] the 10th the day of the incident, didn't you?
{24 A. I don't remember, but it was the same

(25] day.

a

» [18] got into a verbal argument; is that correct?

Page 20

MS. PALMER:

1 stipulate ST

te Cp

MEK
\e

{6] that he Sat atement that the Awe”
'{7] defendant asked for a thousand dollars. It +
Po ard ch cv

| [8] says, "Ibrahim walked up to me and said eS

| [9] me one thousand dollars. I asked for what. ye e
woe po

[10] He said to fly to Egypt."
t] THE COURT: Okay.

ON
KA AX [12] THE WITNESS: -Ldon't cate... en ( Le. a Qh
At ‘[13]__abo about Egypt... on cement at
4 ge

}

[14] BY MS. WILLIAMS:

[15] Q. Okay. -
[16] After you said that you weren't going to
[17] give him a thousand dollars, that's when you two

‘ [19] A. After this, he started talking a lot of +— ~
po bad things that I cannot -- it's a shame to bring
21] it up in a court for the respect of the Court as

[22] I'm Palestinian and I'm not -- he humiliate me.

[23] Q. Okay.
[24] He cursed your mother and father, didn't
[25] he?

Qadriyyah Taylor, O.C.R

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Ibrahim Ali August 27, 2013
Page 21 | Page 22

[1] COMMONWEALTH VS ALI ty COMMONWEALTH VS ALI

[2] A. Yeah. He insult my mother, my father. : (2) A. Iwas upset about the humiliation he did

(3) He insult my personality. He humiliate me. He ' [3] to me, not about the money.

[4] call me even gay. | [4] MS. WILLIAMS: I have no

(5) Q. Okay. ' [5] further questions.

[6] And in your culture, these things are : (6) MS. PALMER: If I may?

[7] serious insults, aren't they? (7 aoe

{8} A. Yes. It's more -- more important than [8] REDIRECT EXAMINATION

[9] money. - [9] we

(10) Q. Okay. [10] BY MS. PALMER:

(11] And you were upset that he said these [11] Q. Sir, on the 10th, was this the first

[12] things to you, weren't you? ‘[12] time the defendant said humiliating things to you?

[13] A. I'm still sick from hearing that word -- [13] A. Yeah, it was the first time. He used to

[14] these insults. ' [14] come before and tell me some stupid stories that if

(15) Q. Okay. [15] you want your land back, Palestine, you would not

[16} And you remember testifying at the [16] get your land back and some stories not -- it's

{17] preliminary hearing in this case, don't you? ‘{17] funny if T say it. It really doesn't -- doesn't

[18] A. I don't say nothing out of -- besides 118) have -- I don't feel that I'm comfortable saying it

Tt 9] over here in the court.
{20}, a Okay.
os MS PALMER: I have nothing

[19] what I say last time and this time. I don't have
[20] no problem with nobody.

[21] Q. That's right.

[22] And you told the judge at the
(23] preliminary hearing that you weren't -- that ye
[24] weren't upset about the money here, right? Do you
(25] remember saying that?

[1] COMMONWEALTH VS A [
[2] based on that.

COMMONWEALTH VS ALI
“THE COURT: Granted.

(3] THE COURT: Thank you, WILLIAMS: Thank you, Your

[4] Mr. Radwan. Honor. ~

(5) THE WITNESS: I want to ask a And that brings me to my side

(6] question. (6) of, the case._For-the character-i ue my

[7] THE COURT: I think you can ask 7 ™ see you s sidebar very briefly?.. ow... oe

[8] the DA when you're finished and then we'll ‘eur THE COURT:-Sure—__

[9] answer your question later. Be eee er

{10] THE WITNESS: I don't want him fi oy (Discussion held off the C

[11] to come near me. That's it. ( 1] record.) ee ee

[12] THE COURT: Okay. Thank you. [12] Ea ee
ape \

{13] THE WITNESS: Thank you. [13] N THE COURT: Okay.

[14] THE COURT: You're welcome. (14] “Do-youwant tme to do -- do you

[15] --- 115] _ think -- I think it's probably better --

[16] (Witness excused.) 16] okay. I'm go to take over.

(17] --- 17] Mr. Ali, so, your lawyer has

[18] THE COURT: Commonwealth. [18] informed me that she wanted to call character

[19] MS. PALMER: Nothing further, ‘(19] | witnesses on your behalf, correct?

(20} Your Honor. I rest. [20] THE DEFENDANT: Sure.

[21] THE COURT: Defense. 21] THE COURT: And you and she

(22] MS. WILLIAMS: Your Honor, this [22] have talked about this, correct?

(23} is my motion for judgment of acquittal on the (23} THE DEFENDANT: Yes.

{24} simple assault charge. (24) THE COURT: And she has asked

(25) MS. PALMER: No argument. [25] you to provide phone numbers in your

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Page 25 Page 26
[4] COMMONWEALTH VS ALI 1] COMMONWEALTH VS ALI
[2] telephone, which I believe -- you know where : {2] names of the people?
[3] _ the phone is, Ms. Williams? [3] THE DEFENDANT: The best way,

[4] THE DEFENDANT: My phone is
(5) right in my business because the time the

[6] police come, I wouldn't have no time to take
[7] anything, even my pants --

[8] THE COURT: Ofcourse not.

19] And your lawyer has told me

[10} that you do not wish to share those phone
{11] numbers?

[12] THE DEFENDANT: No, if I have
[13] it, | wish to share it. However, in the same
[14] time, he say he contacted three of my family.
[15] THE COURT: I'm not asking you
{16} about those facts. Do you want her to get
{17} those phone numbers?

[18] THE DEFENDANT: Yes. She can
(19} have the phone number.

(20] THE COURT: Okay.

[21] MS. WILLIAMS: But I believe

[22] what he just stated was that his phone is i
[23] his property at his business. So I'm not st re
[24] how we would procure that.
[25] MS. PALMER: Does he have th

[4] he has a phone number for the three persons he
[5] said contact from my family, but he can get it
[6] out of him, and none of them he will say
[7] anything about.
- [8] THE COURT: All right. $7 tk.
: [9] Why don't we -- would you like
i{10] to bifurcate then, so you can investigate the
(11] phone number issue?
112] MS. WILLIAMS: Yes.
113] THE COURT: Or you want to talk
[14] to Ms. Yunis (ph) about how we can best
15) accomplish --
(16] MS. WILLIAMS: Well, I will
(17} talk to Ms. Yunis, first and foremost, before
[18] I make any determination.
" THE COURT: Okay. All right.
And do you have the names of

~ folks?

,whoe he called, anyone, it doesn't
ke-a-difference to me.

1] COMMONWEALTH VS ALI |
[2] THE COURT: Allright. *
[3] MS. PALMER: CanImakea .:

[4] request that we colloquy him on if these

{5} people would be able to come and speak on his
(6] behalf? Does he understand that's what's

[7] being asked?

(8] THE COURT: Would those people
[9] come into court for you?
{10} THE DEFENDANT: I wouldn't have

[11] no chance, like, no number to call anybody, so
[12] I--

[13] THE COURT: So if we called

[14] them, are they -- would they be willing to

{15} come in, you think?

[16] THE DEFENDANT: I won't give
[17] you assurance because it depends on the

[18] people --

[19] THE COURT: Okay. That's
(20) fair.
[21} THE DEFENDANT: Unless you

{22] voice -- write in a statement, I will call

(23] some other people and like some authorized
[24] write statement from whatever people you
(25) requested.

Page 28

4 [4] So why don't we -- I think
i [5] that's probably the better way to handle it.
(6] We'll just bifurcate for the defense's case.

{7} Okay.

' 13] MS. WILLIAMS: Okay. Thank
[9] you.

(10) THE COURT: So we're going to

1] try to get those phone numbers the best way we
[12] can. Unless you want a second? Okay.
[13] ---

[14] (Brief pause.)

[15] ---

[16] MS. WILLIAMS: All right.

[17] THE COURT: All right.

[18] THE JUDICIAL STAFF: Looking
‘(19] like two weeks, Judge?

[20] THE COURT: Two weeks.

21] THE JUDICIAL STAFF: 9/13 or I
[22] could do 9/9.

{23] THE COURT: Whatever you want.
[24] THE JUDICIAL STAFF: 9/9.

(25) THE COURT: Okay.

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[i COMMONWEALTH VS ALI ml CERTIFICATION

Do you understand what's
happening, Mr. Ali?
THE DEFENDANT: Yes. Thank

[2]
(3]
4]
[5]
[8]
[7]
[8]
[9]
[10]
[14]

you.
THE COURT: Fantastic.
We'll give you a chance to call
those witnesses. We're going to try to get
the phone numbers.
THE DEFENDANT: Sure.
THE COURT: Okay.
{12] See you back here on the 9th.
[13] THE DEFENDANT: So long.
[14] moe
(15] (Hearing adjourned.)
{16]
{17]
118]
[19]
[20}
[21]
[22]
[23]
[24]
[25]

[2] Thereby certify that the proceedings

- [3] and evidence are contained fully and accurately in
[4] the notes taken by me on the trial of the above

| [5] cause, and this copy is a correct transcript of the

| [6] same.

171

Qadriyyah Taylor
Court Reporter

(The foregoing certification of

9} this transcript does not apply to any reproduction
.of the same by any means unless under the direct
¢ pervision of the certifying

[1] CERTIFICATION
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Lawyer's Notes

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First Judicial District of Pennsylvania
51CR00060772013
Ibrahim Aly
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{ Trial (Waiver) Volume 1 \
September 12, 2013 SO

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First Judicial District of Pennsylvania
100 South Broad Street, Second Floor
Philadelphia, PA 19110
(215) 683-8000 FAX:(215) 683-8005

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Page 1 Page 2

[1] [1]

[2] IN THE COURT OF COMMON PLEAS | [2] APPEARANCES: /

[3] FIRST JUDICIAL DISTRICT OF PENNSYLVANIA 13 TRACIE PALMER, ESQUIRE lS ns
[4] CRIMINAL TRIAL DIVISION ~~ ssistant District Afforney C 3 \
5] | 4] For the Commonwealth NON A ?
[6] --- _ [5] VERONICA WILLIAMS, ESQUIRE c™ aN
[7] | MEGAN WILLIAMS, ESQUIRE ae voy C)
18} COMMONWEALTH : | (@] Counsel for the Defendant *

: [7] ‘
[9] vs. : : 8] WU “
: : [9} ‘

[10] IBRAHIM ALY :CP-51-CR-0006077-2013 [10]

[11] 1)

[12] cof [12]

[13] September 12, 2013 [13]

[14] Courtroom 904, Criminal Justice Center [14]

[15] Philadelphia, Pennsylvania i[15]}

[16] 707 [16]

[17] {1 7]

[18] --- {18]

[19] BIFURCATED TRIAL/SENTENCING 119]

[20] --- « 20]

[24]

[22] BEFORE: THE HONORABLE DIANA ANHALT, J.

[23] gs,

[24]

[25]

; Page 4

[1] CGQMMONWEALTH VS. ALY

[2] INDEX 1E°COURT: Okay. If we could go on

[3] COMMONWEALTH'S EVIDENCE: “ = = record?

[4] WITNESS DIR. CR. REDIR.RECR. — “SE 4] MS: PALMER: Your Honor, this was a

{5) (None called.) [5] continuation of Commonwealth vs. Aly,

[6] EXHIBITS [6] A-l-y, CP-51-CR-0006077-2013. The

[7] NUMBER DESCRIPTION FOR ID ' [7] Commonwealth has already rested its

[8] (None marked.) [8] case in chief.

[9] DEFENSE EVIDENCE [9] — MS. WILLIAMS: And, Your Honor,
[10] WITNESS DIR. CR. REDIR. RECR. [10] before I begin my case, I would just
[11] Ibrahim Aly 6 9 [14] like to explain. Again, this case was
[12] EXHIBITS [12] bifurcated so that I could attempt to
[13] NUMBER DESCRIPTION FOR ID {13] track down character witnesses for my
[14] (None marked.) [14] client.
[15] [15] My client's phone is in his basement
(16) [16] which J investigated and the basement
[17] [17] is boarded up, and J actually was
[18] 118] thinking about -- I actually was
[19} (19) planning. on-going, atone tim. 10 the—
[20] [20] _basement to try to find the phone, but

]

[21 1 "iy supers infomed me iat shat

[22] (22) ‘would be abadidea.

(23] [23] So, I spoke with the complainant.

(24] [24] THE COURT: Did the complainant give

125] [25] you -- — ——

Towarnicki, O.C.R Court Reporting System 1 (page 1 - 4)

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B04 Lg. oN Page 6

COMMONWEALSH VS. ALY

MS. WILLIAMS: Yes. The complainant
gave me a phone number. I called it
and it was a wrong number and that was

[1]
[2]
[3]
{4]

[5] pretty much the only lead that I had.

[6] You know, I did try to track down a

[7] physical body to come in here and

(8] testify about my client's character.

[9] THE COURT: Okay. Thank you. I

[10 appreciate the effort. a

MS. WILLIAMS: And, Your Honor, the
defense would call Ibrahim Aly.
THE COURT: Okay. You can stay

right where you are, Sir. Keep your
hands up. Like the sheriff said, he
ells you what you can do with your

S$, okay?

A

THE DEFENDANT: Yes.

THE COURT: So you are already under
oath. We swore you in the last time
you were here.

And you can proceed. a
MS. WILLIAMS: Thank you, Your,

C Aa)

COMMONWEALTH VS. ALY
DIRECT EXAMINATION

[3]
_ [4] BY MS. WILLIAMS:
'(5}Q. Mr. Aly, what do you do for a living?

[6] A. JIowna business at 425 North Broad Street
| [7] in Philadelphia.
' [8] Q. Okay. And 425 North Broad Street, the
[9] location of your business, is this how you know
'{10] the complaining witness?
[1 A. Yes, itis.
[12] Q. And how long have you known him for?
113] A. About two years.
'[14]Q. Have you two had any altercations or
[15] anything like that in the past?
‘i a a . Never,
Q. Okay. Do you remember April 10th, of 2013?
The date of the incident?
Yes. ‘
Yes.
What ha ened that day between you and the

|

me

[2] door, so there's a window side towards Spring:
[3] Garden, towards the west. So I said, like, "Are
[4] you still hearing like sounds in your head?"

[5] Because he thinks I'm crazy. I don't like the

[6] way he told me I'm crazy, because I'm not crazy.
[7] I preach and J promote justice, and

[8] whatever, so he was like -- what I do, so he

[9] said, "Are you still crazy? I said "I'm not

[10] crazy." So I did curse at him because I'm not

[11] crazy. And he cursed at me back.

[12] I cursed at him, and he cursed at

[13] me, so when we come outside the door towards me

[14] and he pushed me, and J push him back and he have

[15] like, a glass bottle, and he said, "If you're not
[16] going to leave," I'm going to hit you with this

Page 8

{4] Wait for the rae " Andi told him I didn’ t
' [5] have to wait for the police. "I didn't do

. [6] nothing here,” and I didn't have to wait.

(7]Q. Okay. Mr. Aly, did you take $200 from the

[8] complainant's pocket that day?

| (9) A. Never in my life. Not take nothing from

:[10] anybody in my life. Never I do that. That's-not---—~-~ - oN
[11] the way I raised, never ever. eZ
{12]Q. Okay. And did you ask hifm for $4,000 that D

or pA, UOU that

[13] day?
[14] A. Never. I asked him on that for
[15] $1,000. I did ask him like a couple of yea
ee [16] ago, for $1,000 and he said he's not going to

—

[17] glass bottle. a
[18] It was a thin almost like -- 20; 55

[19] feet, and I start like close at hi Da; ecause I
[20] never would let somebody ow for a couple
[21] years call me crazy. He pushed me and he

{22] threatened to hit me with the blac

[23] minutes almost, ten 7h inutes, he said I'm going to
[24] call the cops on you.

(25] I said | lu have the right to

\

oe

_ ,[17] leave the money. And I take my son, in that
\ \,[18] year, in 2011, I take my son and I went home with
119} him,
a
[2\ i]

meve a
ey

[23
3
\ 25]
‘ f “ot
Se a“

CW

MS. WILLIAMS: I have no further
questions.

THE DEFENDANT: And I never see him,
like before, like the first day I ever
see him, almost one year. I never see
him until one year.

oS

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Kim Towarnicki, O. a Yrov

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[1] COMMONWEALTH VS. ALY [1] COMMONWEALTH VS. ALY

[2] That was the first day, almost one (2}Q. One year ago, okay.

[3] year. : [3] And you don't live near where the

[4] MS. WILLIAMS: Okay. No further | | {4] store is, right?

[5] questions. [JA I did live there.

[6] THE COURT: Thank you. | : [6] 1Q. You used to live near where the store is?

[7] MS. PALMER: May I, Your Honor? [7] A. I live at 425 North Broad -- I mean, 351

[8] THE COURT: Yes. _ [8] South Springfield Road, Clifton Heights, PA.

[9] MS. PALMER: May I remain seated? | [9]Q. Okay. That's not close to the store,

(10) THE COURT: Yes. [10] right?

{11] MS. PALMER: Thank you. [11] A. No. That's a half-an-hour.

[12] --- 112] Q. Okay. You said you were going to the

[13] CROSS-EXAMINATION 13) library that day?

[14] --- 04 A. Yes.

[15] BY MS. PALMER: ‘[15]Q. Okay. And so you hadn't had any reason to

[16] Q. Good afternoon, Sir. 6) deal with the complainant if you don't have a y

[17] A. Good afternoon. [17] store where his cart is, right? Ww

[18] Q. Sir, the diner that you own at Broad os _ [133 A. Can you say that same question again, ne \

[19] Street, that’s not open anymore, correct? : . oe

(20) A. It's closed. You don't have any reason to deal with the 1

[21] Q. It's closed, right? i

[22] A. Yea, I've been here, and I have a cas
[23] a sheriff take me, so it's closed.

[24]Q. How long ago did the store close?
[25] A. Almost one year.

[1] COMMONWEALTH VS. ALY
[2] correct?
[3] A. Even if the store is not open, it's nothing=
[4] for me to say "Hi" to anybody.

([5]Q. That's not what I'm asking, Sir.

[6] A. All right, go ahead.

[7}Q. So you said you preach law and justice; is
[8] that correct?

(9] A. Yes.

[10}Q. And you tell him all the time that you

[11] don't like where he's from, and you have

[12] conflicts about where he's from?

[13] A. No.

{14]Q. No. And you don't believe he has any
[15] rights to come to thi

[16] A. Everybody has the right. My message, is
[17] justice, liberty and freedom for everybody else.
[18]Q. Okay. But you brought a motion for this
[19] case, that it shouldn't be heard because he's not
{20] a United States citizen, correct?

(21] A. He has the right to -- any person born in
[22] the United States, or come from any other place
[23] in the United States, we have the same right as
[24} citizen in the United States.
[25] The United States is one of the most

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“THE ‘COURT: Are you and the
[5] complainant from the same country?

1 THE DEFENDANT: I'm not quite sure.
[7] He's living in my country but I'm not
' [8] quite sure where he's from originally.

: [9] THE COURT: He lived in your
country at some point?

THE DEFENDANT: Yes.

THE COURT: You speak the same
language?

THE DEFENDANT: Yes.

THE COURT: So when you have
interactions with him -- when you have
interactions with him, do you speak in
English, or do you speak in your
language?

THE DEFENDANT: In my language.
[21] THE COURT: Got it.

PAR BY MS. PALMER:

Kim Towarnicki, O.C.R

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Ibrahim Aly
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Page 13 | INS Pey Chan Ce
(1) COMMONWEALTH VS. ALY [1] commonwelisn VS. ALY
[2} A. Oh, no. | [2] to the lawyer. If I do that I will not take him
(3}Q. Okay. You didn't tellhim--  ~ | [3] to the lawyer.
[4] THE COURT: Can you hang on, one [4] MS. PALMER: All right. I don't
[5] second? 5] have anything further.
{6] (Brief pause to status another ; [6] COURT REPORTER: Can get the
[7] matter telephonically.) : [7] complainant's name spelled, please?
3} BY MS. PALMER: [8] THE COURT: It's B-i-k-h-i-t, is the
{9} Q. Sir, you asked the complainant for $1,000 * [9] first name, and the last name is
[10] in the past, correct? [10] R-a-d-w-a-n.
[11] A. Yes, like two years ago. {14} Okay. Anything else?
(12]Q. And you asked him a couple times, correct? [12] MS. WILLIAMS: With that, the
[13] A. No. . (13] defense rests.
[14)Q. You only asked him one time? [14] THE COURT: Okay. Very good.
[15] A. One time. 15] Argument.
[16]Q. All right. So you didn't say, you didn't [16] MS. WILLIAMS: Your Honor, you heard
[17] say anything bad about his family, his wife, or 17] two different stories. I ask that you

[18] nothing like that?
[19] A. Not because if I say something bad I
{20] already take him to the lawyer to ask that, his
[21] interpretation, so if I say something bad abo
[22] his marriage, I would not take Bikhit to the «
[23] lawyer.

[24] But J help him. I take him to the
{25} lawyer. He cannot speak English, so I tak

find Mr. Aly not guilty. There was two

complainant said that my client took

nt told you * different —~
He told yo they got in
iat day, and that “SF

Page 14

very different stories. The pe x V

Page 16

[1] COMMONWEALTH VS. ALY
[2] complainant was actually arrested w
[3] my client pushing him in -- pushed hims*
[4] and threatened to hit him with a
(5] bottle, and that was it. ] the defendant guilty. I'm sure that
[6] My client was credible today. On : [6] Your Honor remembers the complainant's
(7] cross-examination when I was asking the : (7] testimony. It was upsetting, it was 4 \- /
[8] complainant about what happened here, ; [8] moving. He was so honest with Your UI fs
19] what he was upset about, he mostly said — ; [9] Hoior, and candid about how he was Lo
[10] that he was upset t the humiliati wh [10] (
[11] ~~ he felt from my client. “CSA {14] .
[12] My client admitted today that he [12] It-is ‘Hot -- it wasn't about the
[13] cursed him; that he was yelling at him. [13] -” money. He lost $200, but he was so
[14] He was yelling things at him, and this [14] . hurt by the things that the defendant \
{15] complainant was very offended by them. (15); said during the course of this robbe \
{16] He was hurt and I ask that you take [16] : and he was ashamed to get up and repeat
[17] into consideration, that my client said —~ 7 , them. He was ashamed to talk t to me
{18] he didn't do this. . > [18] about them. cop errant
[19] So the complainant would have reason \ '(19] ~And I think ‘that that goes to his
(20] to come in and say that my client took \ ‘20] character as a person, why it cut that
(21] money from him because he is i 21] deeply but not in any way negating the
[22] humiliated and upset about what went on i [22] | fact that the defendant robbed him that ~
(23) on, on April 10th. So I ask that you } \ [23] o day.
(24] find my client's story credible, and I / [24] / ~The defendant's story is not °4
[25] cveuemoes find him not guilty. a Ps! , el) He owns up to it as much as we
f u a “
Kim Towarnicki, O.C.R y Oe Réborting System NY \ ) 4 (page 13 - 16)

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he has to, and that's it. He's also
quite ore pleasant today, as °
opposed to the other day, when he asked
you not to hear this trial because of
the complainant's citizen status. I
ask that Your Honor find the defendant
guilty.

THE COURT: Allright. I do find
the defendant not guilty of robbery, a
felony of the third degree, and guilty
of theft by unlawful taking, and RSP,
which is a misdemeanor of the second
degree, I believe? Two-hundred dollars
would be an M2. I think that's right.

It's not an M1, I don't think.

MS. PALMER: I think that it's 200
or over.

THE COURT: It's an M1?

MS. PALMER: It is.

THE COURT: Okay. M1.

I think that taking money out of
somebody's pocket is a different
situation than a robbery. I think
that's like a pick-pocket situation,

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Page 18

COMMONWEALTH VS. ALY

MS. WILLIAMS: Thank you.

THE COURT: So are we going to go to
sentencing today?

MS. WILLIAMS: I think that would be
appropriate, Your Honor.

THE COURT: Miss Palmer?

MS. PALMER: Sure, Your Honor.

THE COURT: This defendant has a
prior record score of zero?

MS. PALMER: Correct, Your Honor.

THE COURT: And an offense e gravity,

score Of 4, 32 nner

“MS. PALMER: That would be a3," Your

Honor.
THE COURT: Guidelines are RS to --
MS. PALMER: The guidelines are RS
V—_—_ a
to one, plus or minus three. cee
THE COURT: Okay.
What would anyone like to tell me
about Mr, Aly before I impose sentence?

{9]
[10]
{11]
[12]
[13]
[14]
[15]
[16]
[17]
118]

tis] ——THE-COURT: Okay.

Ce

[22] . ___S - dual diagnosis FER be appropriate here? _ po
f (23) “THE COURT: I'm going to make it the
[24]. . Mental Health_ Unit. , Leen

[25] MS:PALMER: And, Your On) the

\

COMMONWEALTH VS. ALY ©
MS. WILLIAMS: Mr. Aly. ~
THE DEFENDANT: What do I say?"

MS. WILLIAMS: She found you guilty.

THE DEFENDANT: What are you asking
me to do?

THE COURT: I'm asking you to tell
me something about you, so that I
know --

THE DEFENDANT: Oh, about myself?

THE COURT: Yes, so that I know how
to sentence you.

THE DEFENDANT: I live here in the
United States 28 years. In my mind I
never violated any law.

THE COURT: Okay. Thank you.
Anything else anybody wants to say?

MS. WILLIAMS: No, Your Honor.

It's time served
to 23 months. -

-MS, PALMER: Your Honor, would : a”

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cw.

Page 20

from him.
THE COURT: Okay.
MS. PALMER: And he is extremely
fearful for himself and his wife, and
he just really, really wants the
defendant to be barred from his store,
from his home.
THE COURT: Okay.
It's time served to 23 months plus
two years concurrent probation.
So, Mr. Aly?
THE DEFENDANT: Yes.
THE COURT: Do you have any
problems using drugs or alcohol?
THE DEFENDANT: No, I don't.
THE COURT: Okay. So the main thing
that you're going to need to do with
respect to this probation, and it can
be transferred, to Del -- you live in
Delaware County?
THE DEFENDANT: Yea, I stay here in
Philadelphia, at this time.

Kim a O.C.R 4

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Court Reporting System

5 (page 17 - 20)
Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 32 of 100

51CR00060772013 Trial (Waiver) Volume 1
Ibrahim Aly September 12, 2013
Page 21, Page 22

(1] COMMONWEALTH VS. ALY : [1] COMMONWEALTH VS. ALY

{2} THE COURT: Where do you stay in ' [2] and eyeball him; do you know what I

[2] Philadelphia? 13] mean by "eyeball"?

[4] THE DEFENDANT: At 425 North Broad | (4} THE DEFENDANT: Yes.

[5] Street, Your Honor. [5] THE COURT: You know. You need to

[6] THE COURT: Why are you staying | (6} look the other way and walk the other

[7] there; do you own that property? : [7] way, on the other side of the street.

8] THE DEFENDANT: Yes, I do. [8} Do you understand what I'm saying?

9] THE COURT: And where is the THE DEFENDANT: Yes. I understand
[10] complainant's store; right there, THE COURT: I will put you in prison

[11] right? for a very long period of time if you

[12] MS. WILLIAMS: At 500. violate that condition.

[13] THE COURT: At 500, okay. Do you understand?

[14] All right. So the key to this THE DEFENDANT: Yes, I understarld.
(15) probation, what you need to do with THE COURT: I'm not-playing. with |

[16] this probation is stay away from the a that.

[17] complainant. That means that you can That's the key to this. If you can

[18] have no contact with him whatsoever. do that successfully then your

[19] Do you understand what I mean when I probation can be non-reporting. If you -——-
(20) say "no contact"? are successful in the beginning, by

[21] THE DEFENDANT: staying, away from the complainant.

[22] THE COURT: You can't look at hi foun understand?

[23] you can't email him, you can't contacti’ ENDANT: Yes, I understand
(24) him via the computer on any social OURT: All right. You can

[25] network. You can't walk past his sfor

S = OS ee Page 24

{1] COMMONWEALTH VS. ALY MMONWEALTH VS. ALY

[2] MS. PALMER: Can we also ask fo please-contact my office and we

[3] $200? ‘sé you whether that would be

[4] THE COURT: Two-hundred dollars in your best interest, and we would

[5] restitution. | [5] file the appropriate motions. Do you

(6] MS. WILLIAMS: May I advise? [6] understand?

(7} THE COURT: Yes. [7] THE DEFENDANT: Yes, I understand.

18} MS. WILLIAMS: Mr. Aly, you have ' [8] THE COURT: Thank you.

[9] just been found guilty and sentenced by 19] Good luck, Mr. Aly.

[10} the Honorable Judge Anhalt. {10} THE DEFENDANT: Thank you, Your

(11) She has sentenced you to time served {11] Honor.

(12] to 23 months incarceration plus two [12] I have something to put towards my

[13] years of reporting probation to run [13] case.
(14) concurrent to that. [14] THE COURT: Speak to your lawyer.
{15} She also has stipulated that you [15] MS. WILLIAMS: Thank you very much,
[16] moust stay away from the complaining [16] Your Honor.
[17] witness and that you pay $200 [17] we
[18] restitution. 118] (Bifurcated trial concluded.)
{19} You have ten days from today to ask 119] ---
{20} Her Honor to reconsider her sentence. [20}
{21} You have 30 days to appeal to a higher [21]
[22] court. Either of those things must be [22]
[23] done in writing and through an 23]
[24] attomey. [24]
(25] If you would like to do either of vs
Kim Towarnicki, O.C.R Court Reporting System 6 (page 21 - 24)

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51CR00060772013 Trial (Waiver) Volume 1
: Ibrahim Aly September 12, 2013
| Page 25

11}

[2] CERTIFICATION

13]

[4]

[5] I hereby certify that the

[6] proceedings and evidence are contained

[7] fully and accurately in the notes takeit

[8] by me on the matter of the above cause,

[9] and this copy is a correct transcript

[10] of same.

[11]
[12]

[13} \
KIM TOWARNICKI
[14] Official Court Reporter

a

118} a
[16] ° ~___{THE- FOREGOING CERTIFICATION OF THIS
{17} TRANSCRIPT DOES NOT APPLY TO ANY
[18] REPRODUCTION OF THE SAME BY ANY MEANS, ;;,_
[19] UNLESS UNDER THE DIRECT CONTROL AND/OR
[20] SUPERVISION OF THE CERTIFYIN, ,
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Kim Towarnicki, O.C.R Court Reporting System 7 (page 25 - 25)

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Lawyer's Notes

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MM.

ppeal Docket Sheet Superior Court of Pennsylvania
Docket Number: 2856 EDA 2013
Page 3 of 3
July 18, 2014

Filed Date Docket Entry / Representing Participant Type Filed By
May 19, 2014 Application for Extension of Time to File Brief - First Request
Appellant Aly, Ibrahim
May 21, 2014 Order Granting Application for Extension of Time to File Appellant Brief
Per Curiam

Comment: Briefs are due by 7/18/14.

ABs eyesl ARE
MK TBR AM A Ly

Getited a writen request To thee Cer! Lith
infor B. Court BR mk Campy 4 4 File
Hs Attorney MK

and AKRAM ALY WILE POSee

Neither the Appellate Courts nor the Administrative Office of Pennsylvania Courts assumes any liability
for inaccurate or delayed data, errors or omissians on the docket sheets

Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page 36 of 100

COMMONWEALTH OF PENNSYLVANIA : COURT OF COOMON PLEAS
V. : COUNTY OF PHILADELPHIA
RECEIVED : CRIMINAL TRIAL DIVISION
IBRAHIM ALY APR 1 9 cOi4 : CP-51-CR-0006077-2013
ACTIVE CRIMINAL RECORDS

CRIMINAL MOTION COURT : CHARGES: THEFT- UNLAWFUL TAKING M1

RECEIVING STOLEN PROPERTY M1

MOTION FOR RECONSIDERATION OF NON-REPORTING TO PRBATION

TO THE HONORABLE DIANA L. ANHALT RESIDING IN COURT OF COMMON PLEAS FOR THE COUNTY OF PHILADELPHIA

PETITIONER IBRAHIM ALY

HAS BEEN COMPLY WITH THE PROBATION TERMS AND CONDITION SET FORTH IN THE DOCKET OF THE
ABOVE -ENTITLED COURT.

FROM THE BEGINNING OF THE COURT ORDER ON September 12-2013 PETITIONER HAS SUCCESSFULLY
STAYING A WAY FROM THE COMPLANING.

PETITIONER REQUEST RELIEF FOR NON- REPORTING PROBATION TO BE GRANTED BY THE COURT AS
CONFERMED IN COURT REPORTING CRS CATALOG ID: 14010154 PAGE 22 (15-25)

| DECLARE UNDER PENALTY OF PERJURY UNDER THE LAW@ OF THE STATE OF PENNSYLVANIA THAT THE
FOREGOING IS TRUE AND CORRECT.

EXCUTED ON
Date @7 4 /o 5 [20l4f- signatu itioner

apres AKA 425 Not. Rood ste st SA ak
Phicadel@hyn, PA (4143 5S

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 37 of 100

NOTICE OF A
PRELIMINARY ARRAIGNMENT

Commonweaith of Pennsylvania
Municipai Court

County of Philadelphia

4st Judicial District

Commonwealth of Pennsylvania
Vv.
Ibrahim Aly

Active Criminal Records Department

1301 Filbert Street
Philadelphia, PA 19107 Docket No: . MC-51-CR-0014843-2013

Subpoena

You are hereby DIRECTED to appear for a/an Preliminary Arraignment in the above-captioned case to be held on/at:

Date: April 18, 2013 Location: B08 - Criminal Justice Center
1301 Filbert Street
Time: 12:58 am Philadelphia, PA 19107

To the Defendant:

You should discuss this matter promptly with your attorney. If you fail to appear as required or comply with the
conditions of the bail bond, if any, then the bond shall remain in full force, and the full sum of the monetary
condition of release may be forfeited and your release may be revoked. In addition, a warrant for your arrest
may be issued. Bring this notice with you.

if you fail to appear without cause at any proceeding for which your presence is required, including trial, your
absence may be deemed a waiver of your right to be present, and the proceeding, including the trial, may be
conducted in your absence.

If you are disabled and require a reasonable accommodation to gain access to the Philadelphia County
Municipal Court and its services, please contact the Philadelphia County Municipal Court at the above address
or telephone number. We are unable to provide transportation.

Recipient: (Ibrahim Aly)

Primary Participant Name and Address:
Aly, Ibrahim
4251/ N Broad St aetna ett ge

Philadelphia, PA 19123 eee > 7
we : r a

CPCMS 2070 1 Printed: 04/04/2014 12:38:24PM
Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 38 of 100

Superior Court of Pennsylvania

To the honorable Judge of the Said Court

incase: EDA 2013 NO: 2856
COMMONWEALTH VS: IBRAHIM ALY

PETITIONER PRO SE WITHOUT AN ATTORNEY, PETITIONER FILE AN APPEAL WITH THE SUPERIOR COURT
DATED ON 9\12\2013 REQUESTING IN HIS APLEAS TO CHALANG BOTH THE JUDGEMENT AND THE
SENTENCE, IBRAHIM ALY NO LONGER UNDER THE JURY DICTION OF THE Court of the COMMON PLEAS
FORE HE ASK THE HONORABLE JUDGE TO LEFT HIS PROBATION UNTILE THE SUPERIOR COURT FINAL
DESSION ON THE VENUE OF THE CAUSE

RESPECTFULLY SUBMITED
MALL oS) \
SPD A ay!
_ABRAHIM ALY

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 39 of 100

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First Judicial District of Pennsylvania qe 4

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Capi f° Li ce Al (rest Ibrahim Aly
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Preliminary Hearing Volume 1
May 07, 2013

Court Reporting ystem

First Judicial District of Pennsylvania
100 South Broad Street, Second Floor
Philadelphia, PA 19110
(215) 683-8000 FAX:(215) 683-8005

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CRS Catalog ID: 13070898

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minary Hearing Volume 1

Lg May 07, 2013

\_IN THE MUNICIPAL COURT
(2) FOR THE FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

ty

Vs.

13] CRIMINAL TRIAL DIVISION.

[6] COMMONWEALTH

(8) 6 S 45 2s ke Cory,
[11] “ vo

[13] Tuesday, May 7, 2013 |

[16] Criminal Justice Center

[19}

14] ~-+ ye Sf excur.
{5]
AEN oth, |
[7]
(9}
[10] IBRAHIM ALY : MC# Pied
Cunt
[12] -7-
[14] ---
[15] Courtroom 903
[17] Philadelphia, Pennsylvania
{18}
{20
[21]

ok Pee 1] APPEARANCES: £ 7 oO Tee Joly -

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. |

3] DAVID LIM, ESQUIRE
Assistant District Attorney

[4] Counsel for the Commonweaith

| 5) PAULA SEN, ESQUIRE

Defender Association of Philadelphia Pou 6 AT
| el Counsel for the Defendant Ce iL
[7] FATHI TOUNS} Co 4

Interpreter out; voy E AGT

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Page 2

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[22] ---
{23] PRELIMINARY HEARING if
OS hat 6 i
{25] ALL VD + “fe
Page 4
. {i THE CRIER: Your Honor, this is Case
[2] be
[3] WITNESS: GRY forth
[4] RADWAN BIKHIT —) w OEE r, state your name for the
oe AYA st vO a recor , spell your name, please.
5] rm pa LIAR | 161 THE INTERPRETER: Fathi Tounsi,
(6] EXHIBITS l[6} F-A-T-H-I, T-O-U-N-S-I.
[7] NO. DESCRIPTION MARKED ADMIT. | I7] oe
{8] (None presented) . : (8] (The interpreter was sworn.)
[9] | -
[10] DEFENDANT'S EVIDENCE 0) THE CRIER: Commonwealth.
[11] WITNESS: DR CR RDR RCR jf) MR. LIM: The Commonwealth calls Mr.
[12] (None presented) a “Sy = Wy a {(12) Bikhit.
13 C Q _ “ {[13] THE CRIER: Sir, state your name for
‘ [14] EXHIBITS | [14] the record, spell your name, please.
[15] NO. DESCRIPTION MARKED ADMIT. [15] | THE WITNESS: Radwan Bikhit,
[16] (None presented) [116] R-A-D-W-A-N, B-I-K-H-I-T.
a (17) ---
Mn (18] RADWAN BIKHIT, having been first duly
5) 9} sworn, was examined and testified as follows:
. (20) : (20) 7
[21] NR Cy ebel Auch it THE CRIER: Thank you. Please be
[22] [22] seated.
[23] i[23] Commonwealth.
[24] C IR 1124 MR. LIM: May I, Your Honor?
[25] i
|[25] THE COURT: Yes.
|
Kristine Vargas, O.C.R Court Reporting System 1 (page 1 - 4)

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Preliminary Hearing Volume 1

51CR00148432013
Ybrahim Aly May 07, 2013
PageS | Page 6
RADWAN BIKHIT - DIRECT 5 RADWAN BIKHIT - DIRECT
(1] MR. LIM: Thank you. | [1] happened that brings you into court today. "Shy
[2} --- | [2} A. Ibrahim came to me three times. First time Wes
(3] DIRECT EXAMINATION i [3] he said that he's the coming Christ. He was telling me =
[4] oe | [4] that he's the coming Christ.
[5] BY MR. LIM: [5] Q. Okay. Sir, I just want to focus about the

{6} Q. Good moming, sir.
[7] A. Good moming.

{8} Q. Thank you for your patience today.

[9] Sir, I have some questions about

[10] something that happened on April 10, 2013. Were you
[11] working at your newsstand which is located at 500 North
{12] Broad Street here in Philadelphia?

[13] A. Yes.

[14] Q. At around lunchtime, at 12:00 p.m., did you

[15] see anyone you see in the courtroom today?

{16] A. It's before noon, 10 minutes before noon.

[17] Q. Did you see someone you see in the

[18] courtroom today before noon?

(19} A. Yes.

[20] Q. And who is that person, sir?
[21] A. Ibrahim (indicating).

22] MR. LIM: Identifying the defendan
[23] _ point of finger and name. :
[24] BY MR. LIM:

[25] Q. Sir, Please explain to His Hon

[6] things that happened between the two of you. Okay?
| 7] A. Do you want me to say things step-by-step
| [8] or do you want me to tell you just --
/{9] Q. Let's get straight to the Poi
(10) A. He came to me, and I talked to his family
I 1] that he's not supposed to come towards me or towards my -7 bd,
|[12] stand. vel
lr 3] Q. And what happened after that?

(14) A. He came tome and he asked me for $1000.
15) He started insulting me, telling me a lot of bad words.
ils) Q. Okay.

. jf17] A. He punched me with his hand in my chest, . = He

48] and there was a plastic bag in his hand.
Q. Let's talk about that punch very quickly,

Unche
r Me

(1} So it hit you in the chest?
(2) I thought he was going to hit me, but";
[3] actually he was reaching for the money in my pocket,
[4] Q. How much money did you have in your pocket?
(5) <A. $200.

(6) THE COURT: Are you saying that he

{7} punched you or he was trying to reach for the

[8] money?

\. RADWAN BIKHIT - DIRECT oo

[3] You hee $200?

Page 8

(4) A. Yes, 200.

{5} MR. LIM: Court's connie l
(6) MM ee

| (7) BY MR. LIM:

\
| [8] Q. Didhe say anything to you afterwards? Sy Sa
[9] A. He insult me a lot of things, bad words. I _

{9} THE WITNESS: I thought he was going to
[10] punch me. {10} cannot say. It's shameful to say it in a cou
(11) BY MR. LIM: 14] MR. LIM: Nothing further.
[12] Q. So he never punched you? {12] THE COURT: Cross-examine.
[13] A. It was only once. He just reach my chest (13] MS. SEN: Thank you.
[14] to grab the money from my pocket. |[14] ---
cael 5] Q. So, once again, he never hit you or he did It 5] CROSS-EXAMINATION
[16] hit you? Just yes or no, sir. {[16] ---
[17] A. I thought he was going to hit me, but he it 7] BY MS. SEN:
[18] was going to get the money. {18} Q. Good moming, sir.
[19} Q. Sir, yes or no. '{19] A. Good morning.
{20} MS. SEN: It's asked and answered. 20) Q. I just have a few questions for you.
[21] MR. LIM: Your Honor, I'm asking for 124] So you've known my client for a little
[22] clarification at this point. [22] while. Correct?
(23] BY MR. LIM: A. Yes.
(24] Q. Yes or no? And he asked you for some money for a plane
[25] A. Idon't know. He was going to take the (125) ticket. Correct?

Kristine Vargas, O.C.R

Court Reporting System

2 (page 5 - 8)

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Preliminary Hearing Volume 1
May 07, 2013

51CR00148432013

Ibrahim Aly ,
——— i *
Page 9 Page 10
RADWAN BIKHIT - CROSS 9 RADWAN BIKHIT - REDIRECT 10
[1] A. No. He was asking me for the money and I'm | (1)
2) the coming Christ and you have to help me. Everybody —— | (2] .
[3] has to help me over here. | I

(4) Q. Allright. The money was in your shirt
[5] pocket. Is that right?

[4] BY MR. LIM: k \
| [5] Q. Sir, I'm going to ask you one more time. I Wh

(6) A. Yes. I was having him ready to give him to {6] need you to say this yes or no, nothing else. Okay? ANC
[7] pay something with. | [7] Did the defendant ever hit you?
(8] Q. Okay. And you called the police after he | (8) (No response=™ =

[9] took your money?
[10} A. [told him I'm going to call the cops. He
[11] said, you don't even know how to speak English to call
{12] the cops. —_— ”
{13] Q. That's not what I asked. This is a yes or

[14] no question, sir.

{15} Did you call the police afterwards?

{16} A. Iwentto the cops. I went to the cops.

117] Q. You went to the police? Okay.

{18} MS. SEN: I actually don't have any

{19] further questions for this witness.

[20] MR. LIM: Your Honor, if I may j is

A

i [9] Q. Yesorno, sir? Yes or no?

\{10] A. It was one punch,

[11] Q. Okay. So he did hit you?

12] A. Yes.

\113] “Q>- ~Was that before or after he took the $200, oo
[14] from you? ee
(15) A. The punch was a punch and a taking of the

18 money all at the same time.

AT Honor : No further questions, Your
Honor.

B};. MS. SEN: May I, Your Honor?
THE:GOURT: Certainly.

[21] have one more question? é

(22) THE COURT: Okay. ‘ ,
(23) ---
[24]

[25]

RADWAN BIKHIT - RECROSS yy
1] aoe By, }

{2} RECROSS EXAMINATION | -«:

[3] --- heap MR. LIM: Your Honor, just prior to

(4) BY MS. SEN: | [5] resting, the Commonwealth would amend the

5] Q. Did you get your money back, sir? / | [6] __gradation of the theft and RSP to Mls —- ——~

(6) MR. LIM: Objection. [7] respectively.

[7] THE WITNESS: He was insulting me. I [8] With that, the Commonwealth would rest.

[8] didn't see him again anymore. | [9] THE COURT: All right. Defense.

{9} BY MS. SEN: j[10] wee

[10] Q. So yes or no question, did you ever get [11] (Whereupon, argument heard at this

[11] your money back? {{12) time.)

(12] A. No. [13] ---

[13} Q. Okay. And were you hurt? Yes or no? (14] THE COURT: I think we'll go with the

[14] A. It's not about the money. It's about me |[15)  F3, force however slight.

[15] getting attacked like that and I feel bad about it. |[16] MR. LIM: Yes, Your Honor.

(16] MS. SEN: Okay. Nothing further. [17] And, Your Honor, I do have a stay-away

[17] Thank you. (18] order if Your Honor would sign it.

[18] THE WITNESS: I don't want him to come 19) THE COURT: I certainly will. ©)
[19] towards me, next to me, and [I don't want him to '[20} MS. SEN: And the REAP is dismissed,

[20] come to my stand anymore. 0 Your Honor? oo *
[21] MS. SEN: Thank you, sir. [22] THE COU RT: REAP i is dismissed. Robbery “}
[22} THE COURT: All right. 23 isan F3. Heid for court. “May 28th, 11:00 a.m. ;
[23] MR. LIM: Thank you, sir. |[24] in 1104,

[24] --- ((25] MS. SEN: Thank you, Your Honor.

[25] |

Kristine Vargas, O.C.R Court Reporting System 3 (page 9 - 12)

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51CR00148432013 Preliminary Hearing Volume 1

Ibrahim Aly May 07, 2013
Page 13 | Page 14

[1] THE COURT: Do you understand, sir, | (1) CERTIFICATION

[2] that there's to be no contact whatsoever? ~* ~ i)

[3] THE DEFENDANT: Yes, sir, I understand. 14] | hereby certify that the proceedings

[4] THE COURT: All right. I just want to | [5] and evidence are contained fully and accurately

(5) | make sure there are no language issues. i6] in the stenographic notes taken by me upon the

[6] (Whereupon, proceedings concluded.) [7] foregoing matter on Tuesday, May 7, 2013, and

7) wee | (8] that this is a correct transcript of same.

[3] {9]

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KRISTINE A. VARGAS
Registered Professional Reporter

(The foregoing certification of this

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4.same by any means, unless under the direct control

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Kristine Vargas, O.C.R Court Reporting System 4 (page 13 - 14)

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Lawyer's Notes

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 45 of 100

Commonwealth of Pennsylvania RECEIVED

COMMON PLEAS COURT APR 3 60 2015 case n# 20150303245 HBG

V. ACTIVE GAIMINAL FEO

Us CRIMINAL MOTION COURT

RIGHT WAY AUTHORI : t

RA 25k dortes Brood strech p'ladeC pin , PA \A\ 2B
IBRAHIM ALY .

MOTION FOR RECONSEDERATION

Mr. aly civil right had been violated first the court judge can’t issue an order for MR Aly to the probation
| parole officer to be report to Mental Health United as instated in the arrest warrant warning exhibit 22

Only the doctor can determine Mr. aly evaluation not the judge who interrupted the statue of law to
imply against any violation to personal right mental , fiscal and or to property right violation unless the
theirs is contract violation it is civil law, in those cases the plaintiff initial to relief for the upper court
against the judge own decision that the court will grant Mr. Aly termination to his probation will not
granted because judge an Hault doesn’t remember, furthermore Mr. Aly has the evidence to summited
to the court but judge An Hult has refuse to honor her own decision that Mr. Aly is granted relief for the
first judgment as the court instated.

Can adult probation and parole department and Charles J. Hoyt the chief probation officer and all the
employee under his supervisory also grant the right to act as judge and issue ARREST WARRANT
WARNING against any one any time or as require by the statue which passed by the elected official by
we the peoples and voting right granted the change in any law statue to we the peoples nat | On NS

b

“UN EQUAL JUSTICE FOR ALL “ THAT WAS THE LAW OF GOD AND AS A PROPHICEY FOR THE TREE OF FATHER asranarlhnd CREATOR PLESS
HIM AND HIS FAMILY INCLUDING IBRAHIM ALY FORA HE SAME TREE , THE TREE OF LIFE AND THE RIGHT TO LIVE IN PEACE AND LOVE ON EARTH,

BUT THERE IS SPARATION BETWEEN CHURCH AND STATE SO ONLY THE LAW THE UNITED STATBS-OF AMERIGA-CONSTITUTION AND THE BILL OF
RIGHT IS THE PRINCIPEL CORNER STATUE TO THE LAW OF THE LAND AND THE UNION FLA IFTY STATES MUST IMPLAY.
espars

Only the court of common pleas has the right to issue the arrest warrant warning not the probation
department or any other government department public or and privet that was the law and no judge
ever has the right to grant any authority as the statutory law must Imply first toward civil right violation

The arrest warrant warning granted Mr. aly instated that “ when you receive this letter you are
instructed to call your probation officer immediately “ mr aly never inform with the arrest warrant
warning while he was at the Potsda mission in 6 and rely street Harrisburg, dauphin county, pa | always
was under the government control supervise system

yindaw

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 46 of 100

THE COMMONWESLTH OF PENNSYLVANIA
Vv.
U.S
RIGHT WAY AUTHORITY
AKA 4251/2 north Broad Street Philadelphia, pa 19123

IBRAHIM ALY

The commonwealth of Pennsylvania Magisterial District Court number # 12104
MDJ: Marsh’s C Stewart at Harrisburg, pa docket no: MJ-12104- MD-0000002-2015 CASE FILE; 3/19/15

- Mr. Aly probable cause for his arrest as instated “ FELONY WARRANT FIR ROBBERY OUT OF
PHILADELPHIA ”

THE FALSE ARREST VIOLATED MR Aly right because Mr. Aly had been tray for the same case number
# CP-51-CR-0006077-2013 IT IS a RECORD FAILER FOR NCLC

Double jeopardy is a procedural defense that forbids a defendant from being tried again on the
same (or similar) charges following a legitimate acquittal or conviction.

The arrest warrant must be issue form the judge not any other Party

Charles j. Hoyt never grant to issue arrest warrant violation to Mr. Aly right because only the court
of common pleas judge granted by Jaw statue to issue the warrant of arrest and no one else

There is no warrant of arrest ever issue by the court of common pleas and the judge cannot change t
the venue of the case since the warrant of arrest as instructed above matter, in Harrisburg —»- Ser Jd 2 Pull

- Right to counsel never provided by the set court in violation to state, federal, and U.S.
constitution law

- The date and time for Mr. Aly to testify never granted as require by jaw statue in Harrisburg
district court :

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 47 of 100

The acts committed by the Harrisburg P.O Joshua I. Eruhwirth badge # 138 violated Mr. Aly Right
because: In part 2 EHXIBIT 11

“| ASK THAT A WARRANT OF ARREST OR A SUMMONS ISSUED AND THAT THE DEFENDANT BE
REQUIRED TO ANSWOR THE CHARGES | HAVE MADE”

FALSE ARREST

Mr. Aly never grant his right to testify for the charges must be done first in county where the
warrant has been issue first ACCORDING TO THE JUERDICATION to see if their order of the warrant

of arrest is lawfully . (, second the right to testify never granted to Mr. Aly

FALSE IMPRISOINMENT

Mr. Aly Race is not Black as instructed in police complain violated Mr. Aly Right because first Mr. Aly
skin color not a part of his race and the police is a part of the government violated The Civil Rights
Act of 1964, which ended segregation in public places and banned discrimination on the basis of

race, color, religion, sex or...

The police have the right to described Mr. Aly Body Color to insure public safety but the color of the
skin no part of Mr. Aly race whatsoever.

And hereafter, were against the peace and dignity of the commonwealth of Pennsylvania Citizen of
the United States of America and were contrary to the acts of the Assembly or in violation of PA

statue of law. pO 2) i &
Te

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 48 of 100

FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
COURT OF COMMON PLEAS

TRIAL DIVISION CRIMINAL
ADULT PROBATION & PAROLE OGPARTMENT

1401 ArcH STREET

PHILADELPHIA, Pa 19102
21-68-1000
F_ \< FAX: 215-683-1492
SU &, WESSITE. HITP COURTS PHILA GOV

MAIL: CHARLES. HOYT@COURTS.PHILA.GOV

CHARLES J. HOYT
CHIEF PROBATION OFFICER

Ris’ . WARRANT WARNING

onl presaVe Te TU ee oll

Name: IBRAHIM ALY PP#: 1123899 SID: 39862
CASE #: CP-51-CR-0006077-2013

Address: 425 1/2 N. Broad Street
Philadelphia, PA 19123

YOU HAVE FAILED TO REPORT TO YOUR PROBATION OFFICER AS REQUIRED, AND WE HAVE
BEEN UNABLE TO CONTACT YOU. IT IS A CONDITION OF YOUR SENTENCE THAT YOU
REPORT, AND BE AVAILABLE AT THE ADDRESS ABOVE, WHICH YOU PROVIDED.

THIS IS OUR LAST ATTEMPT TO CONTACT YOU BEFORE WE ISSUE A WARRANT FOR YOUR
ARREST.

-WHEN YOU RECEIVE THIS LETTER, YOU ARE INSTRUCTED TO CALL YOUR PROBATION
OFFICER AT THE NUMBER BELOW IMMEDIATELY, AND REPORT IN PERSON ON THE NEXT
WORK DAY. WHEN CALLING, BE SURE TO LEAVE A MESSAGE, INCLUDING YOUR NAME,
ADDRESS, AND PHONE NUMBER.

THE ARREST WARRANT WILL BE ISSUED ON 2/11/2015.
THE PHILADELPHIA POLICE DEPARTMENT, COURT’S WARRANT UNIT, AND OTHER LAW
ENFORCEMENT AGENCIES WILL HAVE THIS WARRANT TO SERVE.

OFFICER: Nelson Parrish UNIT: Mental Health PHONE #: (215) 683-1347

2129

DATE OF THIS NOTICE: 1/28/2015

MMi (f2L 0

Probation/Parole Officer

ARREST WARRANT WARNING REV G201%
Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 49 of 100

- FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
. COURT OF COMMON PLEAS
TRIAL DIVISION CRIMINAL
: ADULT PROBATION & PAROLE DEPARTMENT

1401 ARCH STREET
PHILADELPHIA, PA 19102

CHARLES J J, HOYT . Y 215-683-1000

CHIEF PROBATION OFFICER FAX, 215-683-1492
WEBSITE: HTTP/ICOURTS PIR A GOV
EMAIL: CHARLES. HOYT@COURTS.PHILA.GOV

_ ARREST WARRANT WARNING

Name: IBRAHIM ALY : PP#: 1123899 " $ID: 39862140

CASE #:  CP-51-CR-0006077-2013
MB. Aly Rect fed tka Arrest -caneradd
Address: 425 1/2N.BroadStreet A(t+er Re ase Crom Yast on dette a

Philadelphia, PA 19123 f~ Qe

- YOU HAVE FAILED TO REPORT TO YOUR elo OFFICER AS REQUIRED, AND WE HAVE
BEEN UNABLE TO CONTACT YOU. IT IS A CONDITION.OF YOUR SENTENCE THAT YOU
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_ ARREST, coy wate ule ID

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OFFICER AT THE NUMBER BELOW IMMEDIATELY, AND REPORT IN PERSON ON THE NEXT

_ | .WORK.DAY. .WHEN.CALLING,.BE.SURE.TO LEAVE A MESSAGE, INCLUDING YOUR NAME,

ADDRESS, AND PHONE NUMBER. fC Aly Nas on EMUGAANCS | SSue

THE ARREST WARRANT WILL BE ISSUED ON 2/11/2015. :
THE PHILADELPHIA POLICE DEPARTMENT, COURT'S WARRANT UNIT, AND OTHER LAW

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(cal Neves Op La Mental Health _ Sonne (215) 683-1347

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Case 1:16-cv- 00281- JEJ Document 1-5 Filed 02/17/16 Page 50 of 100

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J ee - _ i POLICE CRIMINAL COMPLAINT
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| made.
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This verification ly made subject to the penafiles of Section 4904
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the Crimes | Code (HBF Pa.C,S, § 4604) relating lo

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Describe i in n detail the alleged harassment or discrimination including the date and location of incident(s) if known. Attach
additional pages if necessary.

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Complainant Signature:

Please refer to the applicable Policy on Non-Discrimination & Equal Employment Opportunity

Complaint Procedures for submission of this form.

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 53 of 100

SOPERIOR COURT OF PENNSYLVANIA

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EDA 2013 NO. 2856

COMMONWEALTH OF PENNSYLVANIA
VS.

IBRAHIM ALY,
Appellant

BRIEF FOR APPELLANT

Appeal From The Judgment Of Sentence Of The Court Of
Common Pleas Of Philadelphia County, Trial Division, Criminal
Section, Order Entered September 12, 2013, Imposed On CP-51-CR--

0006077-2013.
VICTOR RAUCH, Assistant Defender
OWEN W. LARRABEE, Assistant Defender
Deputy Chief, Appeals Division
KARL BAKER, Assistant Defender
Chief, Appeals Division
ELLEN T. GREENLEE, Defender
Defender Association of Philadelphia Je os
1441 Sansom Street Db Oo. 27
Philadelphia, Pennsylvania 19102 d C 2
Identification No. 00001 ~

(215) 568-3190
July, 2014

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L STATEMENT OF JURISDICTION 1
I. STATEMENT OF SCOPE AND STANDARD 2
OF REVIEW
I. STATEMENT OF QUESTION INVOLVED 3
IV. STATEMENT OF THE CASE f 5 4-6
V. SUMMARY OF ARGUMENT 7
VI. ARGUMENT ~|\~— |\5 8-11

THERE ARE NO NON-FRIVOLOUS ISSUES
PRESERVED FOR APPEAL.

VIL. CONCLUSION /9>~ [ 6 12

Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page 55 of 100

TABLE OF AUTHORITIES
FEDERAL CASES
Anders v. California, 386 U.S. 738 (1967) 2.0... eee cee ees 4,5,8
STATE CASES
Commonwealth v. McClendon, 434 A.2d 1185 (Pa. 1981) ............ 2,4, 5,7
Commonwealth v. Santiago, 978 A.2d 349 (Pa. 2009)..........-.- 2,7, 8,9, 11,
12
Commonwealth v. Torres, 630 A.2d 1250 (Pa. Super. 1993) ..............04. 8
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I. STATEMENT OF JURISDICTION

This Court's jurisdiction to hear an appeal from the judgment of sentence of the

Philadelphia Court of Common Pleas is established by §2 of the Judiciary Act of

1976, P.L. 586, No. 142, §2, 42 Pa. C.S.A. §742.
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Il. STATEMENT OF SCOPE AND STANDARD OF REVIEW

The scope of review in reviewing a request by counsel to withdraw extends to
the entire record. The court is to conduct independent review to decide whether the
appeal is, in fact, wholly frivolous. Commonwealth v. McClendon, 434 A.2d 1185

(Pa. a Commonwealth v. Santiago, 978 A.2d 349 (Pa. 2009).

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 58 of 100

Ill. STATEMENT OF THE QUESTIONS INVOLVED

Was the evidence sufficient to support Mr. Aly’s convictions for theft and
(yay aed t. A, ‘en Ch_ Copst Vy

receiving stolen property?

(Answered in the affirmative by the court below)

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Case ev Document 1-5 Filed 02/17/16 Page 59 of 100

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A. Procedural History Sd on oN ite Gf Wancipat

Appellant [brahim Test was arrested on April 18, 2013, and charged with ¢ ' +
robbery, theft by unlawful taking, receiving stolen property, and simple assault. He ===
was informed against at CP-51-CR-0006077-2013. On August 27, 2013, Mr. Aly
proceeded to trial before the Honorable Diana Anhalt of the Philadelphia Court of

Common Pleas, sitting without ajury. The trial commenced that day, but was then

recessed mid-trial to afford Mr. Aly time to locate a Best The trial vb yesume Hine ge and
wy ms al red=betnTor AGS eS le- one) tele load Sash {reve

oe luded, on September 12, 2013. At the conclusion of trial Mr. Aly was, convicted Ce +
4a) ave a Lote mw Md Law yer WON Ce Wy py OEE
o theft by unlawiul taking and receiving stolen property, both as first degree is f

misdemeanors. Mr. Aly was sentenced that day to time-served to twenty-three

months incarceration, followed by two years probation. A post-sentence motion was

filed on September 19, 201 ithout.a hearing on October oie ws This +c)

me appeal oat Yel fate Jy dae WIS ech, 0 A)

Rules 0YO Se
Che post-sentence motion is attached‘s cuts “A.” The’statement we intent
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to file a brief pursuant to Anders v. California is attached as Exhibit “B,” and the trial

court’s opinion is Exhibit “C.” A copy of the letter sent to appellant, in compliance
with the requirements of Commonwealth v. McClendon, 434 A.2d 1185 (Pa. 1981)

and Anders v. California, 386 U.S. 738 (1967), is attached as Exhibit “D.” A petition

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Co _by counsel to withdraw is being filed contemporaneously with this brief,

6pm liance with,the requirenjents of Anders and McClendon. _

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as the only witness to testify for the En pee | Mr.

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Radwan testified that he owns and operates a new stand at'thec Broad and
Neaat eis a.
Spring Garden Streets in Philadelphia, and that on April 10, 2013, he was worki
fe Mor reat f Porte S
*) the 5 PS tand at 11:50 a.m. that time, Mr. Aly approached him. Mr. Aly wad \

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workéd nearby, and Mr. Radwan ; him for about two years. Mr, Aly asked.
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Mr. dwan to loan him money. vy Radwan re sed

R DLC Report mevey Sen “als
~-Radwan and his family. They argued, and Mr. Aly weachedS up to Mr. Radwan’s shi Un

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pocket and took money from it. The total taken was two hundred dollars. Mr. Aly Re. pot
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had approached Mir. Radwan before to ask fo ut Mr. Radwan had re Ol
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and asked Mr. Aly’s family to > keep him away. Mr. Radwan went to the police that
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day and told them what happened, and identified a picture of Mr. Aly (N.T. 8/27/13,
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Mr. Mr. Aly testi testified on his own behalf at trial. He testified that he owned a

business at 425 North Broad Street, On April 10, 2013, he was walking to the library

when he passed Mr. Radwan. They began arguing, because Mr. Radwan had

previously called Mr. Aly “crazy.” Mr. Aly did curse at Mr. Radwan, and they

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 61 of 100

exchanged words for a time, but Mr. Aly testified that he never took anything from

Mr. Radwan (N.T. 9/12/14, 5-14).
No ficst By Last

No other evidence was presented. The trial coprt found Mr. Aly guilty of theft

by unlawful taking and receiving stolen property, gnd acquitted him of the other

charges (N.T. 9/12/14, 17).

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 62 of 100

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V. SUMMARY OF ARGUMENT sieee Te

There are no non-frivolous issues preserved for appeal’ Counsel has satisfied

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the requirements of Commonwealth v. Santiago, 978 A.2d 349 (Pa. 2009), and its tS
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precursor, Commonwealth v. McClendon, 434 A.2d 1185 (Pa. 1981), including a >
thorough review of the record and the notes of testimony, and should be allowed to

withdraw.

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RE ARE NO NON-FRIVOLOUS ISSUES PRESERVED FOR APPEAL.

_ The Pennsylvania Supreme Court has set forth the requirements cpunsel must

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satisfy pursuant to Commonwealth v. Santiago, 978 A.2d 349 (Pa. 208), and its

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pees precursor Anders v. California, 386 U.S. 738 (1967). tr Ne an la lel aan
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[I]n the Anders brief that accompanies court-appointed counsel's petition ASS oC Coty
to withdraw, counsel must: (1) provide a summary of the procedural © ,
history and facts, with citations to the record; (2) refer to anything in the o> A
record that counsel believes arguably supports the appeal; (3) set forth a RR a
counsel's conclusion that the appeal is frivolous; and (4) state counsel's c Vn 3 S
2 C reasons for concluding that the appeal is frivolous. Counsel should oy «

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= Ysa point that have led to the conclusion that the appeal is al
ivotous.
YT Learn 20 |_ Wm murs wwe) Lets
Santiago, at 361. S Peek em ol ¢ lr

This Court must then conduct its own review of proceedings and make an

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independent judgment to decide whether the appeal is, in fact, wholly frivolous. See
also Commonwealth v. Torres, 630 A.2d 1250 (Pa. Super. 1993) (en banc).

Counsel made a conscientious examination of the record, the controlling case

law and the applicable statutes and asserts that there is nothing in the record that
— eee

counsel has identified that has any chance for appellate relief. Counsel has identified

for the Court those issues that counsel has identified as arguably supporting the
EEF Sr

appeal and the testimony that would arguably support them and that he has identified
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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 64 of 100 c we oo
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for the Court those issues that appellant would have raised on appeal and the 7

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testimony that would arguably support them. Counsel has notified appellant of the

request to withdraw (attached as Exhibit “D”), furnished appellant with a copy of the

brief prepared by counsel, and advised appellant of his right to retain new counsel,
yr poceed pro send raise any additional points that he may deem worthy of

nsideration. Having complied with the requirements of Santiago, counsel petitions

Shoud Counrloel Whe TR
the court for leave to withdraw. _S> Ca icf OL Aske Fr Appellant

WAS THE EVIDENCE LEGALLY SUFFICIENT TO SUPPORT MR. ALY’S Ly Crest
ONVICTIONS FOR THEFT BY UNLAWFUL TAKING AND RECEIVING

STOLEN PROPERTY?

Bikhit Radwan was the only witness 10 testify for the Commonwealth. Mr.
Radwan testified that he owns and operates a newsstand at the corner of Spring
Garden and Broad Streets in Philadelphia, and that on April 10, 2013, he was working
at the newsstand at 11:50 a.m. At that time, Mr. Aly approached him. Mr. Aly
worked nearby, and Mr. Radwan had known him for about two years. Mr. Aly asked
Mr. Radwan to loan him money. Mr. Radwan refused. Mr. ees began to insult Mr.

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Radwan and his family. They argued, and Mr. reached up pe Mr. Radwan’s shirt

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' Counsel is filing a separate Petition to Withdraw contemporaneously with this

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 65 of 100

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pocket and took money from it. The total taken was two hundred dollars. Mr. Aly, C
had approached Mr. Radwan before to ask for money, but Mr. Radwan had refused 2 ww
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and asked Mr. Aly’s family to keep him away. Mr. Radwan went to the police that Uk
day and told them what happened, and identified a picture of Mr. Aly (N.T. 8/27/13, Le 0
0-23). | g y
Joe 5 mane of ry Lower X
Mr. Aly testified on his own behalf. He testified that he owned a business at SC
oe North Broad Street. On April 10, 2013, he was walking to the library when he ~D
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passed Mr. Radwan. They began arguing, because Mr. Radwan had previously called Qe 8
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Mr. Aly “crazy.” Mr. Aly did curse at Mr. Radwan, and they exchanged words for Y \)
atime, but he testified that he never took anything from Mr. Radwan (N.T. 9/12/14, \ YN

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5-14).

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No other evidence was presented. The trial court found Mr. Aly guilty of theft

by unlawful taking and receiving stolen property, and not guilty of the other charges

Jee D9

(N.T. 9/12/14, 17).

The crime of theft in Pennsylvania is defined by the following language: “A
person is guilty of theft [by unlawful taking] if he unlawfully takes, or exercises
unlawful control over, movable property of another with intent to deprive him

thereof.” 18 Pa. C.S. §3921(a). Similarly, the offense of receiving stolen property is wo

defined: “A person is guilty of [receiving stolen property] ifhe intentionally receives,

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18 Pa. C.S. §3925(a).
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Here Radwan,the complainant, testified at trial that Mr. Aly took $200
Com ney pleas & Zhe 8

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from him and kept it. This trfal eviderxfe evidenes Clearly satisfi ies the Nay 2 elements of

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both theft by unlawful taking and betes stolen property. Tips abd eh
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would be frivolous. Per Sec whateva Vv! dem Ce Decl

Counsel states that pursuant to the requirements of Commonwealth v. Santiago, ++ €

978 A.2d 349, 361 (Pa. 2009), counsel has reached the conclusion, after a detailed ee,

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review of the record and the licable law, that reo are no non-frivolous issues to ‘ L
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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 67 of 100

VII. CONCLUSION

After making a conscientious examination of the record, the controlling case

law and the applicable statutes, counsel has determined that this appeal would be

wholly frivolous, and having complied with the requirements of Commonwealth v.

Santiago, 978 A.2d 349 (Pa. 2009), counsel petitions this Court for leave to withdraw.

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Pe Per xX :

VICTOR RAUCH, Assistant Defender
OWEN W. LARRABEE, Assistant Defender
Deputy Chief, Appeals Division
KARL BAKER, Assistant Defender
Chief, Appeals Division
ELLEN T. GREENLEE, Defender f

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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 68 of 100
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BY: ELLEN T. GREENLEE, Defender and DISTRICT ATTORNEY
Veronica Williams, Assistant Defender

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1441 Sansom Street QGi 0 | 2018

Philadelphia, Pa. 19102 EG
(215) 568-3190 ACTA CRIN FAR HRB ney for Ibrahim Aly

COMMONWEALTH OF PENNSYLVANIA — : COURT OF COMMON PLEAS
: COUNTY OF PHILADELPHIA
Vv. : CRIMONAL TRIAL DIVISION

IBRAHIM ALY : CP-51-CR-0006077-2013
: » CHARGES: Theft —- Unlawful Taking
M1, Receiving Stolen Property M1

ORDER

AND NOW, this [day ible it is HEREBY ORDERED that a

hearing be granted on the Motion for Reconsideration, to take place on the day of

2013, in Courtroom of the Criminal! Justice Center,

nich With Hateng

BY THE COURT:

Hee

HONORABLE DIANA L. ANHALT

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oo Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page 69 of 100

Veronica Williams, Assistant Defender

_—
Wp SB we
DEFENDER ASSOCIATION OF PHILADELPHIA rh \ .
BY: ELLEN T. GREENLEE, Defender and He { en Q aw

Identification No. 00001 \oX + ct AQ
1441 Sansom Street \ AR. Sve

Philadelphia, Pa. 19102 we
(215) 568-3190 Attorney for Ibrahim Aly © OW
COMMONWEALTH OF PENNSYLVANIA |: COURT OF COMMON P

COUNTY OF PHILADEL

Vv. : CRIMINAL TRIAL DIVISION

IBRAHIM ALY CP-51-CR-0006077-2013
CHARGES: Theft — onal Taking

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TO THE sovonre DIANA L. ANHALT, RESIDING IN COURT OF CO

IgA Oe ee SEAT ADEL RETA: Cc “2 ha Aco Cao on co Cotes
with her,

Petitioner, Ibrahim Aly; by his attorneys, ax Williams, Assistant Defender, and
Ellen Greenlee, Defender, respectfully represents that: Ll. Ot” 7

= explain

1, On April 18, 2013, Petitioner was arrested and charged with one count each of Robbery

as a felony of the third degree, Theft — Unlawful Taking, Theft — Receiving Stolen

Property, and Simple Assault.

2. On September 12, 2013, after a trial in this matter, this court found Petitioner guilty of
one count each of Theft — Unlawful Taking as a misdemeanor of the first degree as w
as Receiving Stolen Property as a misdemeanor of the first degree.

3. On September 12, 2013, this court sentenced Petitioner to time served to 23 months

incarceration plus two years of probation to run concurrent to Ae A al tp with L
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$200 restitution and a stay away order. CWA 7

4. This court relied on the testimony of the complaining witness when determining the \O

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verdict and sentence. This testimony was unreliable) Petitioner testified on his own
behalf and denied taking anything from the complaining witness.

WHEREFORE, Petitioner begs this Court to grant an appropriate hearing date for this motion.
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pets tO rd er Ne) Jopr—
b < go he Cea Veronica Williams, Assistant Defender,

A f

Vo +6), (_ and with her,
auf ELLEN T. GREENLEE, Defender

Respectfully Submitted,

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 71 of 100

VERIFICATION

The facts set forth in the foregoing are true and correct to the best of the undersigned's
knowledge, information and belief and are verified subject to the penalties for unsworn

falsification to authorities under Title 18, § 4904 of the Pennsylvania Crimes Code.

Veronica Williams, Assistant Defender,
and with her, .

ELLEN T. GREENLEE, Defender
ATTORNEYS FOR PETITIONER

September 19, 2013
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DEFENDER ASSOCIATION OF PHILADELERA, - Ou

BY: Ellen T. Greenlee, Defender, and j
Victor Rauch, Assistant Defender Ca

Identification No. 00001 Q_ lr
1441 Sansom Street p rile C ‘)

2

Philadelphia, PA 19102 ~ Attorney for IBRAHIM ALY
(215) 568-3190

: CRIMINAL TRIAL DIVISION

COMMONWEALTH OF PENNSYLVANIA : COURT OF COMMON PLEAS
Vv. 3 CP-51-CR-0006077-2013
: SUPERIOR COURT
IBRAHIM ALY 2856 EDA 2013

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STATEMENT OF INTENT TO FILE A BRIEF PURSUANT TO ANDERS/McCLENDON cud Lr
wd bath °

The above defendant, Ibrahim Aly, by counsel, Victor Rauch, Assistant Defender, Appeals

TO THE HONORABLE JUDGE DIANA L. ANHALT:

Division, Owen Larrabee, Assistant Defender, Deputy Chief, Appeals Division, Karl Baker,

Assistant ee Chief, eals One ane te T. lly 4 A 39 Oe:

represents: N Ji 5) ba at ch IN uv a 7 a \
1. On October 21, 2013, isco Court issued an order pursuant to Pa. R. A. P. 1925( b) for counsel/ ye Ae U
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fed to file a Concise Statement of of Ex En rors cast of Exors Complained of on Appeal within 21 days. On is j | uw
A AK RY .
at YP November 6, 2013, this Court granted counsel’s request for an extension of time to filethe -
statement of errors, to within twenty-one days of counsel’s receipt of the completed notes of
eA peed COPY of Le “How Code
° ¥ er testimony. Counsel received the completed notes of testimony on February 21, 2014. ‘> L L O
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Ly N \ 2. nod has reviewed the available record and has determined that there are no non-frivolous [ cee
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aN issues preserved for appeal in this matter. Conse ada ursuant to Pa. R.A.P. 1925(c)(4), No
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counsel hereby gives notice of his intent to file a brief compliant with the requirements of |

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/ Exhibit “B”

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 73 of 100

Commonwealth v. McClendon, 434 A.2d 1185 (Pa. 1981) and Anders v. California, 386

U.S. 738 (1967).

Respectfully Submitted,

/S/

Victor Rauch, Assistant Defender
Owen Larrabee, Assistant Defender
Deputy Chief, Appeals Division
Karl Baker, Assistant Defender
Chief, Appeals Division
Ellen T. Greenlee, Defender

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 74 of 100

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VERIFICATION _

The facts set forth in the foregoing are true and correct to the best of the undersigned’s
knowledge, information and belief, and are verified subject to the penalties for unsworn falsification

to authorities under Pennsylvania Crimes Code Section 4904 (18 Pa.C.S. §4904).

/S/

Victor Rauch, Assistant Defende

Date: March 10, 2014 (

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Case 1:16-cv-00281- JEJ Document 1-5 Filed 02/17/16 Page 75 of 100

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DEFENDER ASSOCIATION OF PHILADELPHIA Lowy t Lt + Sud a

BY: Ellen T. Greenlee, Defender, and
Victor Rauch, Assistant Defender w& OF ove LZ Ut: / Cc lal
| Identification No. 00001

1441 Sansom Street

Philadelphia, PA 19102 Attorney for IBRAHIM ALY tu )

(215) 568-3190 OV oy

COMMONWEALTH OF PENNSYLVANIA : COURT OF COMMON PLEAS
CRIMINAL TRIAL DIVISION

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405 CRIMINAL JUSTICE CENTER

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DISTRICT ATTORNEY OF PHILADELPHIA

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Philadelphia, PA 19102 —

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Case 1:16; e ey gai" JEJ ‘Document 1-5 Filed 02/17/16 Page 1G OF NRG

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I pe,
IN THE COURT OF COMMON PLEAS sl! i
Ape Lawl deathly e EQR THE COUNTY OF PHILADELPHI

A
‘ CRIMINAL DIVISION TRIAL i (
Te] befor Kon Sarre Case bey ot, A pila BC CAR
COMMONWEALT . ye
OF PENNSYLVANIA

APR O 2 2014

Criminai Appeals Unit
First Judicial District of PA

Superior Court No.:
- 2856 EDA 2013

Vv.

IBRAHIM ALY ~

Ibrahim Aly, was arrested and charget mpi poppe

Simple Assault, Recklessly Endggering meten Person, Theft By Unig roe on
AC pice + opdey yk
ppellant went to trial ate this Court on Awake (0013, and t 2.
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the trial was bifurcated until September 12, 2013 where the Court found Appellant guilty of

Theft By Unlawful Taking and Receiving Stolen Property. On that date, the Court sentenced /
/

Appellant to time served to 23 months of incarceration plus two years of concurrent probation.

/
é

Appellant filed this timely appeal of the Court’s decision on October 11, 2013. Or

October 21, 2013, this Court ordered Appellant to file a concise statement of the matters /

i

complained of on appeal pursuant to Rule 1925(b) of the Pa.R. A. P. On November 5/ 2013,

Peas cee

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Appellant’s counsel requested an extension of time to file a Supplemental 1925(b) Statement of

_ specifically testified that he thought Appellant was going to hit him but Appellant was reaching

= wae cv- oan -JEJ ACP CHAM mS 2/176 Bapes7 24360 | tou
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Matters Complained of on Appeal because all the notes of testimony had not yet been transcribed

and the Court granted this request. ams did not file a 1925(b) Statement with the Court but

rather on March 10, 2014, Counsel for Appellant notified the Court that he Te. to file eam
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antiago brief in this a0 as there are \ non-ftivolous i issues lor appeal. Ar

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" pacTuALHistory ATL yud gro PL! A100) ve

At thetr Al fqr the AP ellan ak Ki TE khit tee spi Ai on 1 April 10,

2013, around 11:50 in the morning, We was working at his newsstand located at Broad and Spring
Garden Street which he has operated since 2005. (N.T., 8/27/13, pp. 11-12). He went on to
testify that he was working alone that day which he usually does when he was approach by the
Appellant who he had known for about two years or so from Appellant owning a sandwich store
a block down from him located at 425 North Broad Street. (N.T., 8/27/13, pp. 12-13). Mr.
Radwan testified that Appellant came to him that day and asked him for a thousand dollars which
Appellant had done on previous occasions. (N.T., 8/27/13, p. 13). Mr. Radwan had never given

him any money before and when r. Radwan told him that day that he was not going to give 2)

him any money{ Appellant started to insult him and his family Appellant then reached into Mr.

Radwan’s left breast pocket and took out money. (N.T., 8/27/13, p. 13). Mr. Radwan

to grab the money out of his pocket and Appellant told him that you don’t speak English so he
could not do anything about it. (N.T., 8/27/13, p. 15). Mr. Radwan testified that Appellant had

taken two hundred dollars from his pocket which he never got back. (N.T., 8/27/13, pp. 17-18).

_ Afterwards Mr. Radwan went down to the police station to make a report about the incident and

he was able to identify the Appellant from pictures that police showed him. ~N .T., 8/27/ ‘3 p.

) ae cv-00281,JEJ Documenti-5 Fil ‘0 02/1 #/16 Page 78 of 100
“~ Cow Re cord O

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orks) M Fours 4 Need preve e 4 dite

j x Ae testified at trial that his sandwich store at 425 North Broad Street had closed

/ | 4 AX
about a year ago and he testified that he was in that ma that day to go to the library. (N T., y

”
9/12/13, p. 8, 10). Appellant testified that there was so ye type of altercation between him and S
/
Mr. Radwan that day where he was yelling and cursing at him but that "g Peo not Be yt money
ar €q mY
NEY Radwan: (N.T., 9/12/13, pp. 6-8). Appellant did admit to asking Mr. we an for a </ b«< ty

Lh elect 1
he evidence in this case was sufficient to-Spstain Appellant’ s conviction for Theft et By
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Unlawful Taking and Receiving Stolen PropeXty. In evaluating a challenge to thé\sufficiency o: of Ll | il
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_the evidence, the reviewing court must “determine, whether, viewing the evidence in the light Ay
most favorable to the Commonwealth as the verdict winner, together with all reasonable el %
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thousand (2 / that ty and ona previous occasion but testified that he did not take any mone (S)

inferences therefrom, the trier of fact could have found that each and every element of the crimes ‘
whet 2%) bat
charged was established beyond a reasonable doubt.” Cmmw. v. Lee, 956 A.2d 1024, 1027 (Pa.

Super. Ct. 2008). This standard of deference “‘is not altered in cases involving a bench trial,

because the “province of a trial judge sitting without a jury is to do what a jury is required to
Se

do.’” Id. (quoting Cmmw. v. Lambert, 765 A.2d 306, 362 (Pa. Super. Ct. 2000)). This standard is —
—— ARE Law Vd Re ad Eset 7 RY

erry applicable foi cases where the evidence is circumstantial rather than direct so a ow cue.

WE Au a Cow’ t Chee cird Disk orook va Ree
combination of the evidence links the accused to the crime beyond a reasonable doubt.” Cmmw.\” ~
Apo Law ip wt d Matter & Persodal& Pinion Valin (oleCiie—
v. 1 Sere gw. oR 1173, 117 Pa. Super. Ct. 1994 “Unless the oe ie by a ted at trial
WB gerse Je; of AbucabrG. { cur’ Get Rte obah « Ds lawn
is ‘so.weak ma inconclusive that as a matter of law, no probability o pert can be drawn from the, Pit O38
Mio got Judge av Walt dssiser bw od’ oe Cah
somes cae Ve th the verdict stain t be disturbed on appeal.” Lee at 1027- 280

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ewe Cmmw. Fal 766 A2d 860, 866 (Pa. Sai 2002)). em \-

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, Case 1/16-cv-00281- EJ ,Document 1-5 Filed 02/17/16 Page 79 of 100
We Gur pe en Vd JAN “ Co ay me fs Th CHiAle
hal: v2 Ik ec eue |
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A person commits the crime of theft by unlawful taking if he unlawfully takes, or Y

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exercises unlawful control over, movable property of another with intent to deprive him thereof. é cA

18 Pa.C.S.A. § 3921(a). To uphold a conviction for theft by unlawdul taking, the o oy 2 ~
Commonwealth must establish the accused "unlawfully takes, or exercises unlawful control over,
HELDA plot Judge oc Lad yer gahdairy SS | Se
movable property of another with intent to deprive him thereof.” 18 Pa€'S.A. § 3921(a). A - QO
ee YQ eS

person is guilty of receiving stolen property if he intentionally receives, retains, or disposes of
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“been stolen, unless the property is received, retained, or disposed with intent to restore it to the

_ owner. 18 Pa.C.S.A. § 3925. The elements of receiving stolen property may be stated as: (1)

intentionally acquiring possession, control or title, retaining, disposing, or lending on the security
of movable property of another; (2) with knowledge or belief that it was probably stolen;.and (3)

intent to deprive permanently. Cmmw. v. Young, 35 A.3d 54 (Pa Super. 2011); see also ut

ac . je 2vey Tak K ab puk
P CSA. § 3901. 16 Peyton het Ow Ke 20>

The Court 1 in the instant case found that t e was sufficient to establish a theft by
unlawful taking as well as receiving stolen property. Viewing the evidence in the light mest—

favorable to the Commonwealth, as verdict \ winner, with all reasonable inferences drawn there
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from, fhe Court concluded beyond a reasonable doubt that Appellant had taken-the two.hundred._ : SS

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dollars from Mr. Radwan left breast pocket which is what Mr, Radwan testified and that made up
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the crimes of theft by unlawful taking as well as receiving stolen property. urthermore,
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questions of witness credibility and the weight to be afforded the evidence are within the sole» .
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rovince of the finder of fact, who is free to believe all, part, or none of the evidence.

|
Mayfield, 401 Pa. Super. 560, 585 A.2d 1069 (1991). Here, the Court found that the testimony oO

of Mr. Radwan was entirely reasonable and: credible more so than the testimony of the Appellant.
nN

For the foregoing reasons, the Court’s finding of Appellant guilty of Theft By Unlawful

CONCLUSION

Taking and Receiving\Stolen Property should be affirmed.

BY THE COURT:

Get iY
DIANA ANHALT, J.

March 31, 2014
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requirements of Pa.R.A.P. 122:
Victor Rauch, Esquire
Karl Baker, Esquire

1441 Sansom Street —
Philadelphia, PA 19102

ugh Burns, Esquire a ~ lan. >

oluladelphie Distt Attorneys Office: < es te a sist

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Date: 4 aoe (i pyl! CANE Ae ALY Chet b 7
Aud} he 5 T~Qe/s— Diana Anhalt Judge

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Case 1:16-cv-00281-JEJ Document 1-5 Filed 02/17/16 Page 82 of 100

DEFENDER ASSOCIATION
OF PHILADELPHIA

144] Sansom Street ELLEN T. GREENLEE
Philadelphia, PA 19102 DEFENDER
(215) 568-3190

July 18, 2014 yah —

Mr. Ibrahim Aly
425 'AN. Broad St.
Philadelphia, PA 19123

SOV A Loo =.
Re: Commonwealth v. Ibrahim Aly c V

CP-51-CR-0006077-2013 \v
You. \v §

2856 EDA 2013 A\

Dear Mr. Aly, CO v You A on \ ee

In accord with Commonwealth v. McClendon, 495 Ha. 467, 434 A.2d 1185 (1981), and ye \
Anders v. California, 386 U.S. 738 (1967), you are hereby informed that after making a
conscientious examination of the record in your case, pon has determined the appeal would

be wholly frivolous and is filing a request to withdraw from/further representation of you in the
above- -captioned matter.

You have the right to retain new counsel or to proceed pro se, and may raise any
additional points that you may deem worthy of consideration, by writing directly to the Superior /

Court. A copy of the Anders — compliant brief is enclosed, as well as a copy of our petition to
withdraw as counsel.

Sincerely,

ey,
Victor Rauch

Assistant Defender
Appeals Division

' Exhibit “D”

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 83 of 100
~19-560- 5200

IN THE SUPERIOR COURT OF PENNSYLVAINA
SITTING AT PHILADELPHIA

EDA 2013 NO. 2856

COMMONWEEALTH OF PENNSYLVAINA

VS.

IBRAHIM ALY
APPELLANT

BRIEF FOR APPELLANT

APEAL FROM THE JUDGMENTSGSENTENCE OF THE COURT OF COMMON
PLEAS OF PHILADELPH COUNTY, TRAIL DIVISION, CRIMINAL SECTION
ORDER ENTERED SEPTEMBER 12, 2013, IMPOSED ON CP —51—CR_ 0006077
— 2013

PRO SI

IBRAHIM ALY

DEFENDENT

AKA 4251/2 NORTH BROAD STREET
PHILADELPH , PENNSYLVAINA 19123
(215) 459 — 6044

DATE : September , 2014
: Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 84 of 100

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STATMENT OF SCOPE AND STANDER OF REVIEW
a2

STATMENT OF QUESTION INVOLVED
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STATMENT OF THE CASE
iy

SUMERY OF ARGUMENT

+ ARGUMENT
FAS

CONCLUSION
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Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 85 of 100

TABLE OF AUTHORITIES CASES

THE UNITED STATES OF AMERICA CONSTITUTION AND THE BILL OF RIGHT
amendment 14 civil right us cons

United States Constitution Amendement 14

Amendment XIV section 1 cons.

Amendment VIII civil right United States cons. "Nor cruel and unusual punishments
inflicted”

FEDERAL LAW
rules 5" federal rules of criminal procredure"
Federal Title 28 of the United States Code U.S.C right to due process

PENNSYLVAINA STATE LAW

simmons 336A.2d 624,233pa super 547, 1975."

the law of the Commonwealth of Pennsylvain Article 1&9

re cambria county cleark of courts 13D & C. 3 d710 -1980 ) and ( oblakovich vs, Mc
Cormic 7D.&C, 3d 590 (1970 )

Sate Rule of civil procedure 208.3 (a)

( quoting Cmmw.v.Lmbert 765A. 2D 306, 302 (pa .Super. Ct 2000 )

( daddonar v. thind A.2d 786 pa commonwealth 2006)

COUNTY RULES AND REGULATION
Phiadelphia City Counsel order
0.

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 86 of 100

I. STATMENT OF JURISDICTION

This Court's Jurisdiction to hear an appeal from the judgment : verdict and sentence
of the Philadelphia Court of Common Pleas as established by § 2 of the Judiciary Act of
1976,P. L. 586 , No. 142, § 2 , 42 Pa. C.S.A. §742

Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 87 of 100

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SCOPE OF STATMENT'S AND STANDER OF REVIEW

THE SUPPERIOR COURT HARNABLE JUDGE'S TO CONDUCT INDEPENDENT
REVIEW TO DECIDE THE FACT ABOUT THE APPEAL
Case 1:16-cv-00281-JEJ Document1-5 Filed 02/17/16 Page 88 of 100

STATEMENT OF THE QUESTIONS INVOLVED

Was the evidence sufficient to support Mr. Aly's convictions for theft and receiving stolen
property as the interpretation to law and statue implyed

Qestion and Answered by all the parties involve in the case as follow

Case 1:16-cv-00281-J&g PAPE ME Kee omqis [Phofbo & AS F

A. Procedural History

1 — Mr Radwan filed a Police Complaintt on Date of this encident : 4-10-2013 location
500 n.Broad street , phila. Stated that :

MrALY asked Mr Radwan for one thouthand dollor to fly to egypt

Mr Aly asked Mr radwan three times before everytime a thousand dollars all deferent
reasons

Mr Aly punched Mr Radwan one time in the chest not real but he bunch and then
reached into his _ shirt and took $ 200.

2- philadelphia county district Attorney Mr R.Seth William charge Mr Aly without a
probable cause and order of Mr Aly arrest without due prosess of the law Case N.
51CR00148432013 :
Count 1 robbery — take property frdther /force (f3)
Count 2 theft by unlaw taking movab prop (M1)
Count 3 Receiving stolen property (M1)
Count 4 simple assault (M2)

3- Philadelphia County Court of Common Pleas issue Warrant of Arrest on date:
04 \16\2013

4- Philadelphia County Municipal Court issue a Supoena to appear on Municipal
Court
on date : 04\18\2013

5 - On April 17, 2013 time 10:30 AM Mr Aly was arrested by Det. Gallagher # 9218

6 - On April 17,2013 Mr Aly appear Before the Philadelphia Bill Bond Commission
found Mr Aly guilty for all the charges and send him to jail

7- On May 7, 2013 Preminary Hearing At the Phiadelphia Municipal Court by the
Honorable Judge Marvin L. Williams, J and The Commonwealth Prosecuter Divid Lim
found Mr Aly Guilty and Judge Marvin L. Williams order Mr Aly while he was
inconcerated in Jail that there's to be no contact whatsoever with Mr Radwan and Mr Aly
to be held for Municipal Court On May 28" , 11:00 a.m. (N.T. May 07,2013 P.12

)

8- Mr Aly had been instracted by Defendent Association of philadelphia Ms. Paula Sen
that " He does not have any right for cross exemenation in the Preminary Hearing at the
Municipal Court and only can be done at Trail in Court of Common Pleas"

9-the court date of May 28 th, 2013 nevr took place and there wasn't a any new or other
date from the Municipal Court , Mr Aly found guilty without any right as Court requirment
to be--- and the appeal to the Court of Common Pleas done without the need to file --------

10- while Mr Aly in the Jail he get offerd for a pela deal by the defender association of
philadelphia and he refused the deal and he maintain his inoceont

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11 - Mr Aly hold for Trail without a Jury do to the fact there is a long whaiting list
demanding a joury trail as his bublic defendantsVernica William adviced Mr Aly will he is
in jail. Either to have a trail witout a jury is fast or waite for jury on 2014

12- on august 27, Mr Aly appeare at the Court of Common Pleas Before : the Honorable
Diana Anhalt. J She heared Mr Aly two pro se Motions the first to quash the and the
second to reduce the bill . And the Judge will try to get the Witnesss phone number from
Mr Radwan, last The court order Mr Aly to be back On 9-9 — 2013

13- On September 12, 2013. Mr Aly was convicted of theft by unlawful taking and
recieving stolen property both as first degree misdemeanors . Mr Aly was sentenced that
day to time served to twenty three months incarceration plus two yeas probation

14- On October 1,2013 Mr Aly filed for Motion for Reconsideration of Verdict and
Sentence , Judge L.Anhult Denied Without a Hearing

15- Mr Aly filed for an Appeal To Superior Court on the date of october 04 - 2013
B. Factual History

Mr Radwan was the only witness to testify for the Commonwealth. And no evidence was
presented.

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SUMMERY OF ARGUMENT

AFTER REVIEW THE RECORD AND THE NOTES OF TESTIMONY , APPEALANT MR
IBRAHIM ALY PRO SE: THE ISSUES PRESERVED FOR APPEAL AS FOLLOW :

FIRST THERE WAS NO EVIDENCE AT ALL TO WARRANT THE ARREST
POLICE AND THE BILL BONDCOMMISSION VIOLATION TO RULE OF
LAW

SECOND PHILADELPHIA COUNTY DISTRICT ATTORNEY AND
COMMONWEALTH
OF PENNSYLVAINIA PROSECUTER VIOLATION TO THE RULE OF LAW

THIRD MR RADWAN HAD GIVEN CONTRADICTORY AND FULSE TESTEMONY
IN COURT THAN HIS TESTEMENTS IN INCEDENT REPORT DATED
04\10\2013

FORTH THE MUNICIPAL COURT , THE COMMON PLEAS COURT ABUSE ITS
DECRETION IN RULING AND PERSEDING

FIFTH VIOLATION OF DEFENDER ASSOCIATION OF PHILADELPH ATTORNY
TO THE
RULE OF LAW

SIXTH | JUDGE OPNION VIOLATION TO COMMON LAW STATE , FEDERAL , THE
UNITED Lust US
STATE,CONSTITUTION AND THE BILL OF RIGHT

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Aye " Me “hala: oe 4 ws potesedte qt
Regu -

/ ate, RS
‘\ ARGUMENT _, ples

A- POLICE violation to rule of law ~”

i)police report stated that no-other Witnesses were present during this incident and
no video, but there other stands in 20 feet, sales people Witnesses to what happen
Sand She is a video located/on septa elevator 15 feet from his news stand
—-g-€~il) the arrest_warrantwas unconstitution because Mr Aly under the he jurisdiction : of the .
Municipal Co Court in accor e to his subpoeniaorder... = ~~~"

iii) iii)the investigation police report done in the date of 04\18\2013 after the arrest
order in date of 04\16\2013. _ police the investigation should done first before the
request of arrest order not after to establish the real fact about the allegation “The
probable cause “ in accordance to the due process of law

B- Phiadelphia Bill Bond Commission violation to Rules of law

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FIRST “ CC yc te C7
oo Me I fF
|

i) All adults arrested and charged with a felony or misdemeanor appear before a bail
commission for a formal bail arraignment proceeding"
the is issue is who have the first right for Mr Aly to appear before is it the Bill bond
Commission or the Municipal Court , in Mr Aly case this rule had been applayed as a
proceures requierment by the county of philadelphia court system in violation to
y "Municipal Court, rules which has initial jurisdiction in processing every criminal arrest in
~phiadelphia " in accordance to first judicial district of pennsylvaina
WW) . ii) violated to rules 5" federal rules of criminal procredure” as grantee requirement by
~ federal statue for Mr Aly initial to lower court appearance which must occurs first as

federal law mandated so the county of philadelpbyhia court procedure system can
} establish the fact about the allagation then it may fellow by the bill commission apperance
to sets the amount of bill bond if Mr Aly found guilty first in accordance to his constitution

ht law
iii) Violation to the pennsylvaina General Assembly as the only state law authority to [¢
establised court rules and regulation .
{the first judcial district of pennsylvaina composed of two courts which make up the
¢ i? philadelphia county court system the municipal court and the common pleas court. The
\s bill bond commission
is not a part of the first judcial district assigen judge plus the phiadelphia county cannot
inforce any rules if this rules violated the state law, federal la Viet the united states of / A for ven ‘
America constitution and the bill of rights. tact { cf AVVO anfe } fe A 1 plac
iv) The Philadelphia Bill bond Commission does not Have any legal ri ‘A to act asa
judge and also he lack the jurisdiction over the case becuse the due prosess law demand
the apperace before a judge first, the bill bond commission lack the qulification to be a
judge becuse it demand the knowledge of court procedure and due prosess of law
v) the bill bond Commission in violation to the order of the Municipal Court which
granted the defendants Ibrahim Aly the right to testifying on April 18, 2013 instead he act
like judge , He found Mr Aly guilty and he issue a judgment of conviction and jail in
violation to defendants right to the due prosess of law as a safegurd due to the serious
nature of the charges,

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the rights for the defendants to defend himself aginest any allagation as set by the law of
the

#
Commonwealth of Pennsylvain Article 1&9 provides as follows " in all criminal prosecution
the accused has a right to be heard by himself and or by his council to demand the
nature and cause of the accusation against him , nor can he be deprived of his life liberty
or property without the due prosess of the law "

SECOND Philadelpb a County District Attorn i pe the Comonwealth violation to

rule of law rf a0 A WAN Co mi & er urd fi be
ble unt) eS. ells J ecarnt

i-equal justice yt r Si at the United States law in the past , at present time and in the

future accordance to all law statue, states, federal and constitution, the rules of law

granted Mr Aly a preliminary hearing in a system designed as a safeguard against

unresonable arrest and detention. |The hearing is condected to determine the probale

cause and whether there is sufficient evidence to hold Mr Aly for trail , the question is do

Mr Aly is an equal partner in his case and have equal right as granted by law ! In Mr Aly

case,the Pennsylvaina Commonwealth prosecutor Divid lim violated Mr Aly equal right as

a defendants who granted an equal right as the plaintif had , Divid Lim establish his own

probale cause based on one side of the case Mr Radwan only allegation Without any

referance to Mr Aly part in the case. Mr Aly never claim his fifth amandement at that time

and he never get his right for Cross-examintion as mandatories by the law.

Mr Aly had to prove Mr Radwan false testimoney as explain

Mr ALY asked Mr Radwan for one thouthand dollar to fly to egypt ( police report

4\10\2013)

Q-and He asked you for some money for a plane ticket .

A-no he was asking me for the money and i'm the coming Christ and you have to help

me. (N.T. 5 \07\2013 P. 8-9)

"Where testimonial evidence is an issue, the sixth amendment demands what-cemmon
__law_ requires-a-proper opertunity for cross-examintion " furthermore the Constitution statue
doesn't put any limition on cross-examintion fore the law grantee equal right to all citizen

regadies to the Court name as preliminary Hearing or location of Court as in
Philadelpbyhia where the judge precced becuse Divid Lim charge Mr Aly without due
process as a key stone requierment by State, Federal and Constitution law

Ms Palmer the Commonwealth Persecuter charge Mr Aly bsed on false probablele cause

" remembers the complainant testimoney it was upsetting , it was moving, candid
and ashamed " (N.T. 9\12\2013 P. 16)

Ms Palmer cannot charge Mr Aly based on her feeling regadless to the rule of law as
requierment in Criminal preceeding and the rule of evidence.

MS PALMER act as a Physicians by asking the Court accordance to her diagnosis if
"dual diagnosis FER be appropriate ", the Judge ANHALT J. isuee order as a doctor
going to make it the Mental health unit.” by fact there is a Mental clinic in the basment of
the Court of Common Pleas and only in the city of Philadelpbyhia out of all the Court in
the United States used this illigal behaviour

THIRD MR RADWAN Violation to rule of law
Mr. Radwan Bikhit the complainant has given a false and contradictory testimony miss led
every one involve in the case as explained as follow:

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Mr Radwan filed a Police Complaint on Date of 4-10-2013 , location 500 n. Broad street
, philadelphia , Mr Radwan statment's Stated that :
&
i—MrALY asked Mr Radwan for one thouthand dollar to fly to egypt
Q-and He asked you for some money for a plane ticket .
A-no he was asking me for the money and i'm the coming Christ and you have to help
me. (N.T. 5 \07\2013 P. 8-9)
Q-----did he say why on that day he needed a thousand dollars
A---- to loan him from me. Give me a thousand dollar. (N.T. 8\27\2013 P. 14
Q-----and he asked you for a thousand dollars to fly back to Egypt , did he
A----- No (N.T.8\27\2013 P.19)
Q-----Do you remember giving a statement to police
A----- the same thing i said now (N.T.8\27\2013 P.19)
Mr Radwan change his statment's and testemoney as explain

ii- Mr Aly aske Mr Radwan THREE TIMES before everytime a thousand dollars all
deferent reasons :

A-+- Ibrahim come to me THREE TIMES . First time he said that he's the coming Christ
(N.T. 5 \O7\2013 P.6)

* how many times prior to April 10 has he asked you for money -- TWO TIMES
(N.T. 8\27\2013 P 14 )

Mr/Radwan change his statment's and testemoney as explain

iii - Mr Aly punched Mr Radwan one time in the chest not real but he bunch and then
reached into his shirt and took $ 200.

Q ---- so, once , he never hit you or he did hit you, just yes or no sir !

A--- | dont know (N.T. 5 \07\2013 P. 7)

A--- NO respone (N.T. 5 \O7\2013 P. 10

Mr Radwan change his statment's and testemoney as explain

iV- POLICE DEPARTMENT INVESTATIGATION REPORT dated 4\18\2013

"thats when he punched me one time in the chest not real but he punched me

he then reached into my shirt pocket and took $200.00 out of my pocket

accordance tog Mr Radwan testifying the action would take two times , first time the
punched "he punch me" and second time " he then reach into my shirt pocket and took
$ 200.00 "But in the court report He testify that “the punch was a punch and a taking of
the money all at the same time”. in accordance to Mr Radwan testamony that
means the time of the action done in one time when he said " all at the same time " there
is no then , their is no" time” (N.T. 07, 2013 P.10 )

Mr Radwan change his statment's and testemoney as explain

V -Mr Radwan contradicted and falsifies his original testimony as stated in police report

A--- Mr Radwan said that first time Ibrahim is the comming Christ

A---the day of the incident accordance to Mr Radwan testimoney was the third times

for Ibrahim to say that he is the comming Christ but not the first time ( N. T. MAY 07,

2013 P.8,9 )

Q----- Sir, please explain to his honor what happend that brings you in the court todayl
A----- Ibrahim come to me three times, first time he said that he’s the comming

Christ

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(N.T. MAY 07,2013 P.5,6)
Q----- and he asked you for some money for a plan ticket . Correct !

A----- No . He was asking me for the money and I'm the coming Christ (N. T. MAY 07,

2013 P.8,9)

§.
Mr Radwan Contradect his testemony First , Third
i) *First was the comming Christ
*Third time also was the comming Christ like the First and no relation to police
report when Mr Aly ask for $1000 to flay
Mr Radwan change his statment's and testemoney as explain

Vi- in regard to Mr Radwan family allegation even it was'nt a part of the case and should
not have any gravity on the case becuse it was'nt reported in police complain where the
case and cause had been established based in his alegation in a complaint testimony to
police about the incident ( detective GALLGHER dated 04\10\2013 )

Mr Radwan statment's dosn't bear " adequate indication of reliability and trust in
accordance to his testemony in court at one point of time he said one story and in other
point of time he said other story explain as fellow:

a) Mr Radwan went to Ibrahim family after the day of the insident

"| told him what bring you to me over here . And | went to his family and | asked them to
keep him a way from me "(_N.T. 8\27\2013 P.14)

b) Mr Radwan went to Ibrahim family before the day of incident

"| have a question . What bring him to me after we have promise from his family that he's
not supposed to get near my stand ". (N.T. 8\27\2013 P. 17)

c) the fact that Mr Radwan went to Ibrahim family after the day of the insident but not
before becuse there was no reason for complain before the day of the insident

"Sir on the 10 th was this the first time the defendant said humiliating thing to you

Yes it was the first time." (N.T. 8\27\2013 P.22 )

Mr Radwan change his statment's and testemoney as explain

Vii- Mr Radwan provide only one wrong telephone number to the judge and to public
defendants Veronica William for his own witness he claim to contact

so why he doesn't give the court all the three phone number, instead of wrong one

"the court did the complainant give you, yes the complainant gave me a phone number |
called it and it was a wrong number " (N.T, 9\12\2013 P. 4,5 )

Mr Radwan change his statment's and testemoney as explain

Viii- Mr Radwan said "i contact three of his family " this part of Mr Radwan tesitmony is
missing from the court report ( N.T.5\07\2013 )
Mr Radwan change his statment's and testemoney as explain

iX- question by MS Palmer

Q- And is your money in your left brest pocket

A- usually , | don't carry money in my pocket like that (N.T.8\27\2013 P.16 )
Mr Radwan change his statment's and testemoney as explain

X--- question by MS Veranica Wiliams
" don't even speak English, | cannot even go to the police station and put a report."
(N.T.8\27\2013 P.15 ) 0

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--- question by MS Sin
" don't even speak English to call the cop "
(N.T.5\7\2013P. 9 )

#
Mr Radwan change his statment's and testimoney as explain above furthermore
A witness under oath commits perjury by making a statment in court or other

preceeding that the witness knows is not true (18u.s. Code §1621 section 1746 tital
28)

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FORTH
A- Municipal Court system violation to rule of law

i-the order of arrest was unconstitution becuse the Municipal Court issue a Subpoena
order not arrest order demanding Mr Aly appearance on the date of 4\18\2013 time :
12:58 am at the Municipal Court as instructed on the Subpoena and in accordance to
Philadelphia County

Court system only the Municipal Court has initial jurisdiction in processing every
preliminary hearing for all felony cases not the bill bondCommission

ii-the Municipal Court is a limited jurisdiction court of record by statue the defendants do

not have the right to a jury trial in Municipal court, cases may appealed to the Court of

Common Pleas .Mr Aly the petitioner had been charged with a serious crime, arrested,

and detained , in the case # 51CR001148432913 dates May 07\2013 in the Municipal

Court. If Mr Aly given the right to appealed that means the Municipal court find Mr Aly

guilty of the charges aginst him without the due prosess law which ee a prior .

opportunity for cross examination " right to testify " that no apse Cay Case. oo
— MR ALy mever Li od an A ppeal ws Common pleas Cour

iii-judge Marvinl Williams J." In Municipal Court Ae the entire Wty time to the

commplainant Mr Radwan to testify but what about the defendants Mr Aly is he intial to to

equal rights as in whight and gravity by statue the law is desigend as a safeguard aginst

unreasonable arrest and detention , there is no law can ever strip Mr Aly from his grantee

right to equal protection under the same law in same Court , based in Mr radwan

allegation which grant him the right to file a commplain and Mr Aly have the the same

equal right to defend himself aginst those allegation but the only question he had been

asked in the end of the trail “do you understand sir that theirs to be no contact

whatsoever.” The judge found the defendant guilty without Mr Aly open his mouth to talk

and defend himself.

"A conviction of receiving stolen property bases on less than proof beyond a reasonable

doubt of guilty knowledge lacks due process of law and must be reversed com. simmons

336A.2d 624,233pa super 547, 1975."

iv- Mr Aly Quetion to the Superior Court of pennsylvaina sitting at Philadelphia In a
dispute involving a complaint and allegation without the burden of proof "evidence " and
or "wittness” as in my case which party have the right to the law is it the party who filed
the complain first based

on timeliness or the entire have the same right and protection of the law .

The due procces of law granted equal protection and to the significance of what the fact

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finder observes "guilty" or " inocent" depends on the testimony given in court. "only the
ruth will set you free "

vii- All the Municipal Court cases my be appealed to the Court of Common Pleas for a trail
de novo, Mr Aly never filed by him or by his counsel for an appealed to the common
Pleas Court, —.

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furthermore the appeal is done automatic to that fact is a clear indication that the
Municipal

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Court is not separated court as the law requierment but it is a part of the Court of the
Quater Session system which abolished by the city Council in 2010 , fore if Mr Aly found
guilty without the right to his six Ammendement against Mr Radwan Allegation that
means the Preliminary Hearing Court violated Mr Aly Constitution rights first by finding
Mr Aly guilty without the right

for cross-examintion as requierment grantee by the Constitution .

viii- the Clerk of the Quater Session Court had been abolished by Philadelphia City
Council in 2010 ,the Common Pleas Court in violation to the law set by the Philadelphia
County legislatures and thier legislation by ussing illegal name on Mr Aly case file. |

hae

Tc --Mraly have been instructed by the public defendants PALUA SIN that "Mr
aly doesn’t have any right to object to any referance from Mr Radwan allegation in the
Municipal court , Mr Aly right to objection can only be at the common pleas court.
How a lawyer can defend Mr Aly right without the knowlede about the incident and Mr \
Radwan Allegation, Mr Aly first time to meet MS SIN at the court without any
preparation to talke about his case point of view to object to any referance from Mr
Radwan Allegation in violation to his six Ammendement , Ms SIN doesn't have the
case file, the police report investigation at Court Miss mange Mr Aly case.

B-_Phiadelphia County Court cleark system violation to rule of law

i- The court cleark in the Philadelphia County Municipal Court never mail the case file, so
Mr Aly write a letter addressing the court cleark and demanding them to send his file to
study the allegation in order to defend his right , the court never responds back. After Mr
Aly found guilty then the new public defendnts Counsel Veronica Williams mailed his file
before the hearing at the common Pleas Court.

a- Violation to the pennsylvaina state Constitution requires that the the cleark of courts
shall be responsible for the record ( re cambria county cleark of courts 13D & C. 3. d710
-1980 ) and ( oblakovich vs, Mc Cormic 7D.&C, 3d 590 (1970 )

b- Violation to Federal Title 28 of the United States Code U.S.C right to due process
"and to be informed of the nuture and cause of the accustion"

c- Violation to amendment 14 civil right us cons “in all criminal prosecution, the accused
shall enjoy the right a ascertain by the law, and to be informed of the nurture and cause of
the accusation against them"

ii- the Municipal Court administrator limited the court doration becuse there was an order
that Mr Aly to be held for Municipal court on May 28" ,2013 ( N.T.5\07\2013 P. 12) that
court date of May 28 th, 2013 nevr took place and there wasn't any new or other court
date from the municipal court , Mr Aly demand investatigation but no one give any

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attitntion to the law.

Mr Aly file a Complian about the Court administration stauff becuse the Counsel had
received the completed notes of testimony on February 21, 2013 very late, did it takes 4
month to transcribed Mr Aly case from the common Pleas Court.
And the notice of appeal had been filed on october 04, 2013 and the Common Pleas
judge Anhult
J. Opinion had been received on date April 2, 2014 did it takes 6 month to had a judge
opnion

SZ

C-_ Philadelphia County Common Pleas Court violation to rule of law

i- The court of the star chamber of England does not apply no lon er in the Unit d,States
of America since its independence July 4, 1776. The Philadelphia ances } Fe cuitis a
public Court, and Mr Aly trail is “ajPublic trail neither a secret nor a privet one. The side
bar discussion and conference held of the record by Judge Diana Unhalt, persecutor
Tracy Palmer , and public defenderer veronica Williams (T.N.7\8\2013 P.24) violated Mr
Aly grantee right as a bublic citizien's and as a defendants, the United States
Constitution never allow a secret in law, the right to know what was the side bar about it
may be in faivor to Mr Aly side therfore it must be recorded by the court stenographer and
become a part of the trail to be used for the future appeal.

Judge Unhalt J., in violation to United States Constitution Amendement 14 " no state may
make or inforce any law that diminshes the privileges of citizen of the united state "

ii- the Court of Common Pleas granted Mr Aly the Motion for reconsideration, the hearing

date set in 12, September 2013 . but judge Unhalt J. Denied without a hearing , judge

Anhult J. Violated Mr Aly right to the Motion and also in violation to the court perseding

system , the judge can not

deny what the court and the rule of law granted , Judge Anhult J. is an employee of the

court and she must follow the court order for perseding first then she can issue her opinio

for accepting or denying Mr Aly motion. ow?
the motion for reconsideration can be used only in civil procedure trail only # 208.3 (a) $§ -—-__—.
but not in a criminal trail frthermore no other county in the state of Pennsylvania except

Philadelphia county use this kind of unlawful procedure.

lii- The Common Pleas Court judge Unhalt J. Violated Mr Aly civil right becuse judge
doesn’t have any right to act as doctors, Judge Unhalt J. inforce Mr Aly aginst his well ,
by ordering a supervision under a mental health unit as a part of his sentence for
probation . Judge Diana |. unhalt doesn't carry a state approval license to work as a
doctor her job is a judge for law interpretation but not in a medical filed. The Court Judge
have the power withen its jurisdiction to order any citizen for medical evalution by only a
doctor but can't be done by the judges

Violation to Mr Aly right in accordance to Amendment VIII civil right United States cons.
"Nor cruel and unusual punishments inflicted"

iii- Judge Anhalt J. Violated Mr Aly civil right fore inforcing illegal controling case as a £
law stander in her opnion stated that" This standard of deference — is not altered in NR Je
cases involving a bench trial, becuse the province of a trail judge sitting without a jury is to G
do what a jury is required to do " Id ( quoting Cmmw.v.Lmbert 765A. 2D 306, 302 (pa, : pee S

THQ, dl apa
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Super, Ct 2000 )
Violation to Amendment XIV section 1 cons." no state shall make or enforce any law
which shall a bridge the privileges of citizien's of the united states,
the province is a word discrib ownership claim to smale terraitories of land given by
England king and Queen,the ruller of the land and their order was the only law without
any objection that was the past before the independent Julay 4, 1776, and word
province is no longer used in America Law_Dicshenary since the Civil War to out law the
slavery, the law pass by the Congress on jun, 19,1862 and Lincolin sign the legislation
into law fore no longer using of the word Master and Slaves , furthermore, in order to
have a stander first start with unity of the same as in union of fifty stats under one "law" ,
and the deference led to outlaw the stander if there is" so many

é
law" fore only one stander is the Constitution law, combarring with many deference
control cases and Million of changing opnion .the only informal law allow is the Union
Constitution of the United States of America as One Stander statue accordance to
whight and gravity, the Rules of law never change even the Leader Marten luther King
fite to pass civil right law on 1964, but segregation never end for used the word white, the
color of a skin to discrib Mr Aly race or Ethnicity in the police report violated Mr Aly civil
right as in all men created equal by mentaining the stander rules, is not | or You but it is
we the people as a Constitution demand alwyes the whight of a few as in " jury " is more
whight toward right than the gravity inforcment of one opnion as in my case . The
deferance is the grantee freedom and the right of choise under the one stander Statue
law which mandating the use of the Jury trail in all Union terraitories including the County
of philadelphia where the Common Pleas Court have to complied with those repuirement.

iv- Mr Aly demand a jury trail as granted by the statue of the United States constitution
law, civil right amendment VI United States cons. No court can deny a party’s counsel
the right to argue their cause before a jury ( daddonar v. thind A.2d 786 pa
commonwealth 2006)

counsel Veronica Williams inform Mr Aly at jail that " the trail will be delay, do to the long
waiting list of defendants in jail who demanding a jury trail, fore Mr Aly has to accepted
the bench trail or waite in jail until the new hearing date will be known by 2014 ,

Judge Unhalt J., first opnion stated that " Constitution right to have a jury trail in this
matter" (N.T. 8\27\2013P.6 ) contradect to last opnion to the Superiop Court dated
March 31,2014 fore inforce the bench trail on Mr Aly with out corisent.

Verification of kwnoledge to counsel Veronica "the deferance between a story where no
liablity under the law, but a statment's or and testimony is subject to the penallites under
law , the charges is perjury or and fals testimoney as in Mr Aly case .

FIFTH Philadelphia Defender Association violaton to the rule of law

Philadelphia Defender Association Victor Rauch Assistant Defender, Appeals Division
Owen Larrabee, Assistant Defender, Deputy Chief ,Appeals Division, Karl Baker
Assistand Defender, Chief Appeals Division and Ellen T. Greenlee in violation to councel
client confidentiality by furnished appellant copy to Judge Anhalt J... Mr Aly is no longer
under unhalt J. Jurisdiction law and order , the case under the jurisdiction of the Superior
Court . There is no mandatories by the law or by either court the lower or higher
demanding all those Counsel's to furnished Mr aly personal case information without his

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Folge. 9

consent frst! learn as an Attorny counsel that client case information is confdential as
requierment mandate by all law.

Mr Victor Rauch in his Argument stated that " this trail evidence clearly satisfies the
statury elements of both theft by unlawful taking and receiving stolen property." even my
Councel persecuted his client Mr Aly insted of definding him, that his right and his is free
and intital to his opnion, but Mr Victor R. missrepresent the case for not inform Mr Aly
what this evidence are which let Mr Victor Rauch agree for Mr Aly convection. the Court
of common Pleas ordered appellant Counsel to file a concies statement of the matters
complained of on appeal pursuant to rule 1925 (b) of the pa.R.A.P. On november 5,2013.
even the court in---- violation for impossing rules 1925 (b) to Mr Aly case becuse by law
their is no mandatory requirment in the appel aplication to the Superior Court, forther
the lower Court can not intervene by puting any

inforement and limiation in how Mr Aly discovery of improper procedure and new
pertinent issue to appel his case as granted by All law in United States of America, to
decide whether the trail was conducted properly it is only up to the Appellant Court
Opnion. even if the Court of Common Pleas know about the subject matter ! The Lower
Court can not chalange the venue of perceeding, judjement and Dessision by the
Superior Court. The lord decision 1925 not only violated Mr Aly right by impossing a
rules of limation to Mr Aly case by mandating that any issue not raised in the 1925 (b)
statment's shall result in waiver of that issue at the Higher Court. | Judge Unhalt J.,
Opnion as a verdict winner and demanding that the verdict should not be disturbed on
appeal but as a matter of Mr Aly right to prove his innocent and as a matter of up holing
the law
"no state has any right to issue a law which deminish the citizen right as granted by the
constitution "
appellant's counsel Victor Rauch requested an extension of time... becuse all the notes of
testimony had not yet been transcribed. Forthermore My Councel miss manage Mr Aly
case becuse he never filed for 1925 (b) as a requirment by the Common Pleas Court
Appellant counsel Victor Rauch filing a request to withdraw from representing Mr Aly,
Counsel is initital to his right but why it takes him more than three monthes to notifay Mr
Aly about his intintion ,from march 10,2014 to July 18,2014 . counsel Victor Rauch
statment's stated that "” Bikhit radwan was the only witness to testify for the
Commonwealth "( B . Factual History Superior Court ) , the police report record indecated
that "no other witnesses where present during this incident " ( police report affidavit of
probable cause ) , but the Court record indecated that "to afford Mr Aly time to locate a
witness" (A. Procedural History Superior Court ) if there is no witness only the
Complainant-and the defendants at the time of the incident then where Mr Aly will get a
witness from ! om

oth Court grarited adwan, the Complainant titel witness , the Municipal Court (
(N.T 5\07\2013 P.3) and the Common Pleas court (N.T 8\27\2013 P. 2) | in violation 4 ba
to the la

becare WE RadWan Comme Ver QAv be Coy &
both the defendants and the complainant granted equel right , then why the Courts KL
consider the defendants not presented as witness , Both side must be equal under the ~
same law, the Court canno't favor only one side under the eye of the justice law

The Simple Assault charge must be lifted, it has been actual in the Court of
Common Pleas ‘n {e ofa [ Court cha” y
-, on Los An}

Tt recy tat He Qoan’t

5 Wd) AALS

